     Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 1 of 73


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 9    1025 Thomas Jefferson Street, NW
      Suite 400 West
10    Washington, DC 20007
11    Telephone: (202) 965-8100
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12
13    Attorneys for Defendants
      American Security Insurance Company,
14    American Bankers Insurance Company of Florida,
      John A. Frobose, and Katherine A. McDonald
15

16                        UNITED STATES DISTRICT COURT
                              DISTRICT OF NEVADA
17
      PAUL D.S. EDWARDS,                      ) Case No.:
18                                            )
                       Plaintiff,             )
19
            v.                                ) NOTICE OF REMOVAL
20                                            )
      EFG COMPANIES, a/d/b/a EFG       )
21    AGENCY, INC., a/d/b/a            )
22    EFGUSA.COM, a/ d/b / a ENTERPRISE)
      FINANCIAL GROUP, INC., and       )
23    VEHICLE PROTECTION               )
24    DEP ARTMENT, LLC, and AMERICAN)
      SECURITY INSURANCE CO., and      )
25    AMERICAN BANKERS INSURANCE )
      COMPANY OF FLORIDA, and          )
26    RETICULATED ADMINISTRATIVE )
27    SERVICES, INC., and BRICKELL     )
      FINANCIAL SERVICES-MOTOR         )
28    CLUB INC., a/ d/b / a ROAD       )
      AMERICA MOTOR CLUB, INC.,        )
                              Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 2 of 73


                          1    a/ d/b / a ROAD AMERICA MOTOR               )
                               CLUB, and JOHN P APPANASTOS,                )
                          2    and JASON RHODEN, a/k/ a JR                 )
                          3    RHODEN, and JOHN AUGUST                     )
                               FROBOSE, a/k/ a JOHN FROBOSE,               )
                          4    and KATHERINE A. MCDONALD,                  )
                               and DENNIS MC NAIR FANTIS,                  )
                          5    a/k/ a DENNIS M. FANTIS, and                )
                          6    RUBEN SANTOS MARTIN,                        )
                                                                           )
                          7                      Defendants.               )
                          8    --------------------------)
                          9
                                           PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331,
        ~

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        «                      1367,1441, and 1446, defendants American Security Insurance Company,
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                         11
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        v)g,
        ZN
                         12
                               American Bankers Insurance Company of Florida, John A. Frobose, and
~       « ,
o       l'J'<t
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        Vl ........
                         13
                               Katherine A. McDonald (collectively, "the Removing Defendants") hereby
~ j8                           remove the above-captioned case from the Eighth Judicial District Court,
~ \.0«
  o~                     14
~ ": '--':-                    Clark County, Nevada ("State Court"), in which court this case was
        ~o
rJ)      0
        V)
            _'<t         15
                               commenced, to the United States District Court for the District of Nevada,
~       >0'1
        W
        «~
          '
                         16
        w'<t
                               being the judicial district in which the case is pending. In support of this
o       -'
        :::ON
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              ........




                         17
~       il'--                  removal, the Removing Defendants state the following:
        OJ
                         18
        w                                  1.    This is a civil action brought by plaintiff Paul D.S.
        ~

        ~

        '<t              19
                               Edwards, who asserts claims for relief based on alleged violations of the
                         20
                               federal Telephone Consumer Protection Act, 47 U.S.C. § 227, and that Act's
                         21
                               implementing regulations (including 47 C.F.R. § 64.1200), as well as a variety
                         22
                               of Nevada statutes and common laws. Each claim for relief asserted
                         23
                               commonly arises out of Mr. Edwards' allegation that defendants placed, or
                         24
                               caused to be placed, "multiple illegal, unauthorized, deceptive and
                         25
                               unsolicited telemarketing and solicitation calls to Plaintiff's residential and
                         26
                               wireless telephone numbers."
                         27
                                           2.    Mr. Edwards originally filed this case in the State Court on
                         28
                               or about December 5,2017. The case was assigned number A-17-765684-C.

                                                                       2
     Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 3 of 73



 1    The Amended Complaint (the operative affirmative pleading) was filed on
 2    or about December 26, 2017. A true and correct copy of the Amended
 3    Complaint, together with all other process, pleadings, and orders served
 4    upon the removing defendants is attached hereto as Exhibit A.
 5                3.       "Each defendant shall have 30 days after receipt by or
 6    service on that defendant of the initial pleading or summons ... to file the
 7    notice of removal." 28 U.S.C. § 1446(b)(2)(C).Here, Mr. Frobose and
 8    Ms. McDonald have not yet been properly served process. American
 9    Security and American Bankers were each served with the Summons and
10    Amended Complaint on January 3,2018. Thirty days have not yet elapsed
11    from service of process on these defendants. Removal is therefore timely.
12    See Murphy Bros. v. Michetti Pipe Stringing, Inc., 526 U.S. 344,347-48 (1999)
13
      (holding "that a named defendant's time to remove is triggered by
14    simultaneous serve of the summons and complaint, or receipt of the
15    complaint, 'through service or otherwise,' after an apart from the service of
16    the summons, but not by mere receipt of the complaint unattended by any
17    formal service.").
18                4.       All Removing Defendants and other defendants have
19    advised the undersigned Removing Defendants' counsel that they consent to
20    the removal. See Proctor v. Vishay Intertechnology Inc., 584 F.3d 1208, 1225
21    (9th Cir. 2009) (,,[T]he filing of a notice of removal can be effective without
22    individual consent documents on behalf of each defendant. One defendant's
23    timely removal notice containing an averment of the other defendants'
24    consent and signed by an attorney of record is sufficient.").
25                5.       Removal is proper under 28 U.S.C. §§ 1331 and 1441(a)
26    because certain of Mr. Edwards' claims for relief involve federal questions.
27    Specifically, Mr. Edwards asserts that certain of his claims arise under 47
28    U.S.C. § 227 and that statute's implementing regulations. This is therefore a

                                               3
     Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 4 of 73



 1    case of which this Court has original jurisdiction under 28 U.S.C. § 1331, and
 2    may be removed to this Court pursuant to 28 U.S.C. § 1441(a). See Mims v.
 3    Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012) (holding that "federal and
 4    state courts have concurrent jurisdiction over private suits arising under the
 5    TePA").
 6
                  6.    Furthermore, the Court may exercise supplemental
 7    jurisdiction over the state-law claims for relief pursuant to 28 U.S.C. §
 8    1367(a) because those claims that are so related to the federal-question
 9    claims that they form part of the same case or controversy. As noted, each
10    of the state-law claims arise out of the same series of allegedly unlawful
11    telephone calls made to Mr. Edwards that give rise to his claims under
12    federal law.
13
                  7.    The State Court is located within this judicial district. 28
14    U.S.C. § 108. Venue is therefore proper under 28 U.S.C. § 1441(a).
15                8.    Pursuant to 28 U.S.C. § 1446(d) and Fed. R. Civ. P. 5,
16    written notice of this removal is being served on Mr. Edwards and, in
17    addition, is being filed with the. Clerk of the State Court.
18
                  9.    The Removing Defendants reserve the right to file
19    additional support for this Notice of Removal by way of declarations,
20    deposition testimony, expert testimony, discovery responses, supplemental
21    memoranda, and/or legal argument.
22                10.   The Removing Defendants reserve all defenses that they
23    may have, including that the Amended Complaint fails to state a claim upon
24    which relief can be granted.
25                11.   The Removing Defendants do not demand a jury trial.
26                WHEREFORE, this case is hereby removed to the United States
27    District Court for the District of Nevada.
28


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                             Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 5 of 73


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                                                          MO~P
                         2

                         3                                By:
                                                                Ryan M. Lower, Bar No. 9108
                         4                                      411 E. Bonneville Ave., Ste. 360
                                                                Las Vegas, Nevada 89101
                         5

                         6                                CARLTON FIELDS JORDEN BURT, P.A.
                                                          Frank G. Burt (to be admitted pro hac vice)
                         7                                Brian P. Perryman (to be admitted pro hac vice)
                         8                                1025 Thomas Jefferson Street, NW
                                                          Suite 400 West
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                         9                                Washington, DC 20007
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      co                10
      <C                                                  Attorneys for Defendants
~~
~ G';                   11                                American Security Insurance Company,
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                                                          American Bankers Insurance Company of
~     <C '
      \.9<:;J-                                            Florida, John A. Frobose, and Katherine A.
d     wI'-
      ><:;J-
                                                          McDonald
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     Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 6 of 73



 1                             CERTIFICATE OF SERVICE
 2                 Pursuant to Fed. R. Civ. P. 5(b), I certify that I am an employee of
 3    MORRIS LAW GROUP, and that the foregoing NOTICE OF REMOV AL
 4    was served via first-class United States mail, postage prepaid on the
 5    following:

 6    TO:
 7
      Paul D.S. Edwards
 8    713 Wheat Ridge Lane, Unit 203
 9    Las Vegas, Nevada 89145

10    SHIELDS LEGAL GROUP, P.C.
      Bart F. Higgins
11    R. Brian Shields
12    16301 Quorum Drive
      Suite 250B
13    Addison, Texas 75001
14
                   DATED this 23rd day of January, 2018.
15

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 Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 7 of 73




                     Exhibit A




Exhibit A - Eighth Judicial
 District Court Amended
Complaint, with all other
 process, pleadings, and
   orders served upon
  Removing Defendants
          Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 8 of 73

                                                                                        :1111111111111111111111111111111111111111111111111111111111111111111111
                                                                                                               *18·000002458*

 CIllEF flNANCIAl OFFICER
 JIMMY PATRONIS
    ·~-rATEOFF1DR1DA




                                                                       CASE #:          A-17-765684-C
PAULD.S. EDWARDS,
                                                                       COURT:          DISTRICT COURT
                                                                       COUNTY:          CLARK
PLAINTIFF(S) .                                                         DFS-SOP #:       18-000002458

VS.·

AMERICAN SECURITY INSURANCE COMPANY,
ETAL; .

DEFENDANT(S)

SUMMONS, COMPLAINT, EXHIBIT




                                   NOTICE OF SERVICE OF PROCESS
NOTICE IS HEREBY GIVEN of acceptance of Service of Process by the Chief Financial Officer of the
State of Florida. Said process was received in my office by PROCESS SERVER on Thursday, January 4,
2018 and a copy was forwarded by ELECTRONIC DELIV~RY on Friday, Jan~ary 5,2018 to the
designated agent for the named entity as shown below.



         AMERICAN SECURITY INSURANCE COMPANY
         LYNETTE COLEMAN .
         1201 HAYS STREET
         TALLAHASSEE, FL 32301




*Our office will only serve the initial process(Summons imd Complaint) or Subpoena aJ:ld is not responsible
for transmittal of any subsequent fillings, pleadings, or documents unless otherwise ordered by the Court
pursuant to Florida Rules of Civil Procedure, Rule #1.080




                                                                       Jimmy Patronis
                                                                       Chief Financial Officer



PAULD.S. EDWARDS
713 WHEAT RIDGE LANE, UNIT 203,
LAS VEGAS, NY 89145
                                                                                                                            CA1       .




                                         Office of the General Counsel· Service of Process Section
                            200 ·East Gaines Street· P.O. Box 6200 • Tallahassee, FL 32314·6200 - (850)413-4200
., \ •   f.~               ~.


                                     Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 9 of 73
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                .      I        SUMM


                                                                      DISTRICT COURT,
                                                                 . CLARK COUNTY, NEVADA·

                                PAUL D.S. EDWARDS,                                                                  CASE NO.: A-17-765684-C

                                                     Plaintiff,                                                     DEPT. NO.: XXXII·

                                                     vs.
                                EFG COMPANIES, ald/b/a EFG AGENCY,. INC.,                                                                                                     ."'   -
                                ald/b/a EFGUSA.COM,
                                ald/b/a ENTERPRISE FINANCIAL GROUP, INC.,
                                and VEHICLE PROTECTION DEPARTMENT, LLC,
                                and: A~RICAN SECURiTY INSURANCE CO.j
                                and AMERICAN BANKERS INSURANCE COMPANY OF
                                FLORIDA,
                                and RETICULATED ADMINISTRATIVE.sERVICES, INC., . .
                                and BRICKELL FINANCIAL SERVICES-MOTOR CLUB INC"
                                ald/b/a ROAD AMERICA MOTOR CLUB, INC.,           .
                                ald/b/a ROAD AMERICA MOT.OR CLUB,
                                and JOHN PAPPANASTOS,
                                and JASON RHODEN, alk/a JR RHODEN,
                                and JOHN AUGUST I:ROBOSE, alk/a JOHN FROBOSE,
                                and KATHERINE A. MCDONALD,
                                and DENNIS Me NAIR FANTIS, alk/a DENNIS. M. FANTIS,
                                and RUBEN SANTOS MARTIN,
                                and DOES I-X, and ROE CORPORATIONS XI-XX~ et ai.

                                                     Defendants.
                                     NOTICEI YOU HAVE BEEN SUED. THE COURT MAY DECIDE AGAINST YOU WITHOUT YOUR
                                     BEING HEARD UNLESS YOU RESPOND WITHIN· 20 DAYS. READ THE INFORMATION BELOW.

                                TO THE DEFENDANT[S): A civil Complaint has been filed by the Plaintiff(s) against you for the relief set forth in the Complaint.

                                          1. If you intend to defend this ·laWsuit. within 20 days after this Summons is served on you, exclusive of the day of
                                             service, you must do the following:                             .                 .

                                                    (a) File with the Clerk of this Court, whose address is shown below, a formal written response to the
                                                           Complaint in accordance with the rules of the Court. with the appropriate filing fee,
                                                    (b)    Serve a copy of your. response upon the attorney whose name and address is shown below,

                                          2. Unless you respond, your default will be entered upon· application of the Plaintiff(s) and failure to so respond will result .
                                             in a judgment of default against you for the relief demanded in the Complaint, which could result in the taking of .
                                             money or property or other relief ~ecjuested In the Complaint.

                                          3. If you intend to seek the advice of an attorney in this matter; you should do so promptly so that your response may be
                                             filed on time.                                                                                          .




                                Submitted by: r~~~-=~..s.:.~t::;,..""'-"
                                Nama:
                                Addreu:




                                                  NOTE: When service is by publication, add a brief statement of the object of the action.
                                                                      See Nevada Rules of Civil Procedure 4(b).
Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 10 of 73
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                                                                12/26/20172:08 PM



                                                                                       .. ..
                                                                Steven D.-Grierson


 1   ACOMJD                                                     ~r""u ~
   PAUL D.S. EDWARDS,
 2 7p Wheat Ridge Lane, Unit 203,
 3 Las Vegas, Nevada 89145
   Landline Telephone: 702.341.1776
 4 Cellular Telephone: 702.893.1776
   Email: pauldse@pauldsedwards.com
 5 Plaintiff pro se

 6

 7                                   DISTRICT COURT,
 8                                  CLARK COUNTY, NEVADA
 9

10
     PAUL D.S .. EDWARDS,                           CASE NO.:      A-17-765684-C
11
                       Plaintiff,                   DEPT. NO.: XXXII
12

13              ys.
                                                     .AMENDED COMPLAINT
14   EFG COMPANIES, a/d/b/a EFG AGENCY, INC.,           FOR DAMAGES,
     a/d/b/a EFGUSA.COM,
15   aldIb/a ENTERPRISE FINANCIAL GROUP, INC.,      STATUTORY INJUNCTIVE
16   and VEHICLE PROTECTION DEPARTMENT, LLC,              RELIEF,
     and AMERICAN SECURITY INSURANCE CO.,
                                                                   -AND,
17   and AMERICAN BANKERS INSURANCE
     COMPANY OF FLORIDA,                             DEMAND FOR TRIAL BY
18   and RETICULATED ADMINISTRATIVE SERVICES,              JURY
     INC., .
19   and BRICKELL FINANCIAL SERVICES-MOTOR              ARBITRATION
20   CLUB INC.,                                      EXEMPTION CLAIMED
     d/b/a ROAD AMERICA MOTOR CLUB, INC.,
21   d/b/a ROAD AMERICA MOTOR CLUB,
     and JOHN PAPPANASTOS,
                                                           (ACTION IN EQUITY)
22   and JASON RHODEN, alk/a JR RHODEN,                       -STATUTORY
     and JOHN AUGUST FROBOSE,                              INJUNCTIVE RELIEF
23   alk/a JOHN FROBOSE,                                       PURSUANT TO
24   and KATHERINE A. MCDqNALD,                             47 U.S.C. § 227(b)(3)
     and DENNIS MC NAIR FANTIS,                              47 U.S.c. § 227(c)(5)
25   alk/aDENNIS M. FANTIS,
     and RUBEN SANTOS MARTIN,
26   and DOES I-X,
     and ROE CORPORATIONS XI-XX, et al.
27
281~   ______________________________
                   Defendants.        _
      Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 11 of 73

,i'




                                                            I.

       2                                           INTRODUCTION

       3          1.       This is an action for statutory damages, actual damages, punitive/exemplary damages

       4   and injunctive relie:f1 brought by an individual consumer for Defendants' violations of the-
                                         .           .
       5          (i)     Telephone Consumer Protection Act of 1991, Public Law 102:"243, December 20,
                          1991, which a.tp.ended Title II ofthe Communications Act of 1934, 47 U.S.C. § 201
       6                  et seq., by adding a new section, 47 U.S.C. § 227et seq. ("TCPA"), as amended;
                          Title 47-Telecommunication Chapter I-Federal Communications Commission Part
       7                  64-Miscellaneous Rules Relating to Common Carriers-Subpart L-Restrictions on
                          Telephone Solicitation Sec. 64.1200/ Delivery Restrictions ("Implementing
       8                  Rules"), as amended; The Communications Act of 1934, 47 U.S.C. § 151, et
                          seq.("TCA"), as amended; and the Telephone Sales Rule, 16 C.F.R. Part 301
       9                  ("TSR") as amended;
      10          (ii)    Nevada Revised S~atutes ("NRS"), including, but not limited to, 41.600(e}, 42.005,
                          201.255(2),228.540-228.620, 597.812-597.818,598.0903-598.0999 (including, but
      11
                          not limited to 598.0915(15), 598:0916, 598.0918, 598.092, and 598.0923(3}),
                          598.0977, 599B.080-599B.145, 599B.270-599B.300 and .707.910(2)-707.920, as
      12
                          amended; and,                                         .
      13
                  (iii)   Defendants intentional invasion into Plaintiff's expectation of privacy and intrusion
      14                  into the solitude and seclusion expected by Plaintiff in his home.

      15          Plaintiff asserts, alleges and maintains that the above violations were perpetrated (either

      16   individually or in concert with others, and either directly or indirectly) by Defendants EFG

      17   COMPANIES, a/d/b/a EFG AGENCY, INC., a/d/b/a EFGUSA.COM, a/d/b/a ENTERPRISE

      18 . FINANCIAL GROUP, INC., and VEHICLE PROTECTION DEPARTMENT, LLC, and

      19   AMERICAN SECURITY INSURANCE CO., and AMERICAN BANKERS INSURANCE

      20   COMPANY OF FLORIDA, and RETICULATED ADMINISTRATIVE SERVICES, INC., and

      21   BRICKELL FINANCIAL SERVICES-MOTOR CLUB INC., d/b/a ROAD AMERICA MOTOR

      22   CLUB, INC., d/b/a ROAD AMERICA MOTOR CLUB, and VEHICLE PROTECTION

      23   DEPARTMENT, LLC., and JOHN PAPPANASTOS, and JASON RHODEN, a/k/a JR RHODEN,

      24   and JOHN AUGUSTFROBOSE,aIkIaJOHNFROBOSE,andKATHERINEA. MCDONALD,and

      25   DENNIS MC NAIR FANTIS, a/k/a DENNIS M. FANTIS, and RUBEN SANTOS MARTIN, and

      26   DOES I-X, and ROE CORPORATIONS XI-XX, et al.("collectively "Defendants"}.

      27
           ISee 47 USC 227(6}(5) & 47 USC 227(b)(3), that (statutorily) provides for injunctive relief.
      28   2See 47 C.F.R,. 64.1200 (a)(I) & (2); (b)(l) & (2); (c)(2); f(2) & (3); and (d)(l).

                                                            -2-
Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 12 of 73




 1           That at all times relevant and material herein, Plaintiff asserts, alleges and maintains that the

2    Defendants, and each of them (either individually or in concert with others, and either directly or
                    ,
 3   indirectly) knowingly, willingly and willfully developed, conspired, participated in and was

 4   complicit in each of the illegal acts complained of herein.

 5           That at all times relevant and material herein; Plaintiff ass~rts, alleges and maintains [that

 6   the] D.efendants, and ea~h of them (either individually or in concert with others, and either directly

 7   or indirectly)-, were the causation of multiple illegal, unauthorized, deceptive and unsolicited

 8   telemarketing and solicitation telephone calls to Plaintiffs residential and wireless telephone

 9   numbers (702.341.1776 / 702.893.1776)- totally disregarding the rights of the Plaintiff, and by

10' ignoring federal and state laws.

11           That at all times relevant and material herein, Plaintiff asserts, alleges and maintains that the

12   Defendants, and each ofthem (either individually or in concert with others, and either directly or

13   indirectly) knowingly, willingly and Willfully invaded into Plaintiff's expectation ofprivacy and

14 'intruded into the solitude and seclusion expected by Plaintiff in his home.

15                                                       II.

16                                     JURISDICTION AND VENUE .

17           2.      Juri~diction of this   Court is attained pursuant to the Telephone Consumer Protection

18   Act, 47 U.S.C. § 227 as amended, and the FCC's implementing rules3 that explicitly pr~vides for a

19   private right of action in state courts4for violations of the TCPA and for violations of the regulations

20   promulgated pursuant to'the TCPA. Jurisdiction is proper in Nevada state courts.

21           3.      Venue is proper in the above titled court because Defendants, and each of them, at

22   all times relevant and material hereiri, committed the illegal acts complained of herein, and transacted

23   those illegal acts within the city of Las Vegas, the county of Clark, and the state of Nevada.

24

25   347 C.F.R. Part 64 Subpart 1200 and Part 68 Subpart 318.
26   4Plaintiffis authorized, pursuant to 47 U.S.C. § 227(b)(3), to file actions in states' courts to e11ioin
     violations and enforce compliance with the TCP A and the regulations issued pursuant to the TCPA,
27   and to obtain actual damages or damages of $500 for each violation, whichever is greater, and up
     to treble that amount for each violation committed "willfully" or "knowingly." See Edwards v. Direct
28   Access, LLC, 124 P.3d 1158 (Nev. 12/29/2005).

                                                         -3-
Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 13 of 73




 1                                                      III.
 2                                                 PARTIES

 3                                                 (plaintiff)

 4           4.      That at all times relevant and material herein Plaintiff PAUL D.S. EDWARDS was

 5   and continues to be a natural person who resides in Las Vegas, Clark County, Nevada.

 6           5.      That at all ~imes relevant and material herein Plaintiff PAUL D.S. EDWARDS was·

 7   and continues to be a natural person who resides in Las Vegas, Clark County, Nevada, and is a
         .                               .
 8   "person" within the meaning of 18 U.S.C. § 1961(3), and TCA, 47 U.S.C. § 153(32).

 9           6.      That at all times relevant and material herein Plaintiff PAUL D.S. EDWARDS is a

10   "person" pursuant to the TCA, Title I, Sec. 3(i).

11                                                (Defendants)

12                                                      (1)

13           EFG COMPANIES, a/d/b/a EFG AGENCY, INC., a/d/b/a EFGUSA.COM,
                    . a/d/b/a ENTERPRISE FINANCIAL GROUP, INC.
14

15           7.      That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

16   that Defendant EFG COMPANIES, ald/b/it EFG AGENCY, INC., aldlb/a EFGUSACOM, aldlb/a

17   ENTERPRISE FINANCIAL GROUP, INC. ("EFG") was aforeign corporation formed under the

18   laws of the state of Texas.

19           8.      That at aU times relevant and material herein, Plaintiff asserts, alleges and maintains

20   that Defendant EFG was incorporated within the state of Nevada as aforeign corporation.

21           9.      That at all times relevant and material herein, Plaintiff asserts, alleges and :p1aintains

22   that Defendant EFG never attempted to ()btain, nor obtained any type of business license to conduct

23   any type of business activities, practices and operations within the state of Nevada; or Clark County,

24   Nevada; or in Las Vegas, Nevada- consequently, Defendant EFG was conducting it's business

25   activities illegally within the state of Nevada.

26           10.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

27   that Defendant EFG held itself out as having its corporate headqUarters. located at 122 West

28   Carpenter Freeway, Sixth Floor, Irving, Dallas County, Texas.

                                                        -"4-.
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f   6




         1           11.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

         2   that Defendant EFG, by, through and with the assistance and approval of its officers, directors,

         3   managers, employees, representatives and agents, utilized and incorporated illegal, unauthorized and

         4   deceptive [autodialed] telemarketint/ and solicitation telephone calls to induce Plaintiff, and others,

        '5   into purchasing Defendants' products and services.

         6           12.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

         7   that Defendant EFG, as part of its products and services, held itself out as representing and being

         8   authorized by Ford Motor Company to sell Defendant EFG' products and services.

         9           13.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

        10   that Defendant EFG hired, contracted with, and retained the services offered by Defendant JASON

        11   RHODEN, alk/a JR RHODEN and Defendant VEHICL~ PROTECTION DEPARTMENT, LLC,

        12   to initiate a telemarketing and solicitation campaign to sell to Plaintiff, and others located in Nevada,
        13   Defendants' products and services.

        14           14.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

        15   that Defendant EFG holds itself out as the AdmiJiistrator for the exteIl:ded warranty contract that each

        16   telemarketer attempted to sell to Plaintiff through the utilization of illegal, unauthorized and

        17   deceptive telemarJreting and solicitation telephone calls to Plaintiffs'residential and wireless

        18   telephone numbers (702.441.17761 702.893.1776). A copy the extended wllrranty contract is
        19   attached hereto and incorporated herein as Exhibit 1.

        20

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        22

        23

        24   5The FCC's rules define "telemarketing" as "the initiation of a telephone call or message for the
             purpose of encouraging the pur~hase or rental of, or investment in, property, goods, or services,
        25
             which is transmitted to any person." The rules define "advertisement" as "any material advertising
        26   the commercial availability or quality of any property, goods or services." All calls (and text
             messages) subject to the prohibition that meet these definitions will be subject to the new "prior
        27   express written consent" r~quirement.

        28                                                     -5-
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 1           15.     That at all times relevant and material herein, Plaintiff asserts; alleges and maintains

 2    that Defendant EFG; by, through and with the assistance and collaboration oflts officers, directors,

 3    managers, employees, representatives, agents and contractors, conducted its illegal, unauthorized

 4    and deceptive telemarketing and solicitation business activities, practices and techniques within the

 5    County of Clark, and the City of Las Vegas, and the State of Nevada- consequently, Defendant

 6    EFG was conducting it's business activities illegally within the state of Nevada.

 7            16.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains
                                                                  .        '                    ,/t



 8    that Defendant EFG by, through and with the assistance and collaboration of its officers, directors,

 9    managers, employees, representatives, agents and contractors earns tens-of-thousands of dollars a

10    year by engaging in illegal, unauthorized and deceptive telemarketing and solicitation telephone

11    calls to landline and wireless telephone numbers without [first] obtaining the mandated written/oral

12    consent6 to place, or cause to be placed such unsolicited telephone calls.

13            17.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

'14   that Defendant EFG engaged in, or caused to be engaged in, telephone telemarketing and

15    solicitations to Plaintiff s residential and wireless telephone numbers (702.341.1776 / 702.893.1776)

16    that has been on the National Do-Not-Call Registry7 established and maintained by the Federal Trade

17    Commission under 16 Code of Federal Regulations§ 310.

18

19
      6The written agreement shall include a dear and conspicuous disclosure informing the person
20    signing that: (i) By executing the agreement, such person authorizes the seller to deliver or cause
      to be delivered to the signatory telemarketing calls using an automatic telephone dialing system or
21    an artificial or prerecorded voice; and (ii) The person is not required to sign the agreement (directly
      or indirectly), or agree to enter into such an agreement as a condition of purchasing any property,
22    goods or services. Finally, the definition notes that "the term 'signature' shall include an electronic
      or digital form of signature, to the extent that such form of signature is recognized as a valid
23
      signature under applicable federal law or state contract law. See, In the Matter of Rules and
24    Regulations Implementing the Telephone Consumer Protection Actof199J, FCC Report and Order,
      CG Docket No. 02-278, ~ 68 (Feb. 15, 2012) ("2012 Report and Order")("Once our written
25    consent rules become effective, however, an entity will no longer be able to rely on non-written
      forms of express consent to make auto dialed or prerecorded voice telemarketing calls, and thus could
26    be liable for making such calls absent prior written consent.").
27    7Plaintifrs telephone numbers has been on the National Do-Not-Call Registry since its inception.

28                                                     -6-
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'"

      1           18.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

      2   that Defendant EFG (either individually or in concert with others, and either directly or indirectly)

      3   was complicit, authorized and sanctioned each of the illegal acts complained of herein.

      4                                                     (2)

      5                          VEIDCLE PROTECTION DEPARTMENT, LLC

      6           19.     That at all times relevant and material herein, Plaintiff asserts,alleges and maintains

      7   that Defendant VEHICLE PROTECTION DEPARTMENT, LLC, ("VPD") was a foreign

      8   corporation formed under the laws of the state of California.

      9           20.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

     10   that Defendant VFD never incorporated itself within the state of Nevada.

     11           21.    That at all tinies relevant and material herein, Plaintiff asserts, alleges and maintains

     12   that Defendant VPDholds itself out as having its business located at 2961 West MacArthur

     13   Boulevard, Suite 209, Costa Mesa, CA. s "

     14           22.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

     15   that Defendant VPD was neither incorporated with the state of Nevada, nor obtained, or attempted

     16   to obtain any type of business license to' conduct any type of business practices, activities and

     17   operations .within Nevada, or Clark County, or in Las Vegas- consequently, Defendant VPD was

     18   conducting it's business activities illegally within the state of Nevada.

     19           23.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

     20   that Defendant VPD is, in pertinent part, in the telemarketing and solicit~tion business of selling

     21   [after market] "vehicle warranties for the Defendants (and each of them) through the utilization of

     22   illegal and deceptive telemarketing and" solicitation telephone calls such as those complained of

     23   herein. See Exhibits 1 & 2.

     24

     25
     26   SIn an email to Plaintiff, Defendant VPD [also] holds itself out as having "a business location at 2024
          North Broadway, 3rd Floor, Santa Ana, CA. A copy ofthat email is attached hereto and incorporated
     27   herein "as Exhibit 2.                             "

     28                                                     -7-
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 1          24.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 2 _ that Defendant VPD (by, for or on behalf of Defendants, and each ofthem) made, or caused to be

 3   made, telemarketing and solicitation telephone calls to Plaintiff s residential and wireless telephone

 4   numbers (702.341.1776 / 702.893.1776) located at Las Vegas, Nevada- without receiving

 5   Plaintiffs consent to contact him through telemarketing activities.

 6          25.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 7 that Defendant VPD made, or caused to be made, telephone solicitations to Plaintiff s residential and
 8   wireless telephone numbers (702.341.1776 / 702.893.1776) that has been on the National Do-Not-

 9   Call Registry9 established and maintained by the Federal Trade Commission under 16 Code of

10   Federal Regulations§ 310.

11          26.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

12   that Defendant VPD' s website is registered to David Cunningham, 2183 Fairview Rd., Costa Mesa,

13   CA 92627, 888.502.4697.

14          27.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

15   that Defendant VPD, in collaboration with Defendants, and each of them (either individually or in

16   concert with others, and either directly or indirectly), earns tens-of-thousands of dollars a year

17   through the use of illegal, unauthorized and deceptive telemarketing and solicitation telephone calls,

18   to landline and wireless telephone numbers, without [first] obtaining the mandated written/oral

19   consent10 ~andated to place, or cause to be placed, such unsolicited telemarketing and solicitation

20   telephone calls.

21          28.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

22   that Defendant VPD (either individually or in concert with others, and either directly or indirectly)

23   was complicit, authorized and sanctioned each of the illegal acts complained of herein.

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25
     9Plaintiffs telephone numbers has been on the National Do-Not-Call Registry since its inception in
26   2003. . .
27   lOSeen.6.

28                                                    ~-
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                                                                                                                   ~   .




                                                        (3)

 2                              AMERICAN SECURITY INSURANCE CO.

 3           29.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 4   that Defendant AMERICAN SECURITY INSURANCE CO. II ("ASIC") is aforeign corporation

 5   formed under the laws of the state of Deleware.

 6           30.·    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 7   that Defendant ASIC holds itself out as having its "statutory home office" located at 2711

 8   Centerville Road, Suite 400, Wilmington, DE, and its "main administrative offices" located at 260

 9   Interstate North Circle, SE, Atlanta, GA.

10           31.     That at all times relevant and material herein, Plaintiff asserts, ~lleges and maintains

11   that Defendant ASIC was neither incorporated with the state of Nevada, nor obtained, or attempted

12   to obtain any type of business license to conduct any type of business practices, activities and

13   operations within Nevada, or Clark County, or in Las Vegas.

14           32.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

15   that Defendant ASIC is one of the insurers for the extended warranty contract issued by Defendant

16   EFG (the Administraior. for the extended warranty contract) that was offered to Plaintiff during the

17   illegal, unauthorized and deceptive telemarketing and solicitation telephone calls to Plaintiff by

18   Defendant VPD. See Exhibit 1.

19           33.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

20   that Defendant ASIC, in collaboration with Defendants, and each of them (either individually or in

21   concert with others, and either directly or indirectly), earns tens-of-thousands of dollars a year

22   through the use of illegal, unauthorized and deceptive telemarketing and solicitation telephone calls,

23   to landline and wireless telephone nuinbers, without [first] obtaining the mandated written/oral

24   consentt2 to place, or ca~se to b~ placed, such unsolicited telemarketing and solicitation telephone calls.

25

26 .1lDefendant AMERICAN SECURITY INSURANCE CO is a directly owned subsidiary of
27 Interfinancial Inc., a Georgia corporation. In tum, Interfmancial Inc. is a wholly owned subsidiary
    of Assurant, Inc., a Delaware insurance holding company..
28 l2See n. 6.

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             34.     That at all times relevant and material herein, Plaintiff asSerts, alleges and maintains

 2   that Defendant ASIC (either individually or in concert with others, and e,ither directly or indirectly)

 3 was complicit, authorized and sanctioned each of th~ illegal acts complained of herein.
 4                                                     (4)

 5                  AMERICAN BANKERS INSURANCE COMPANY OF FLORIDA

 6           35.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 7 . that Defendant AMERICAN BANKERS INSURANCE COMPANY OF FLORIDAll (" ABIC") is

 8   aforeign corporation organized under the laws oftbe state of Florida.
 9           36.'    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

10   that Defendant ABIC holds itself out as having its statutory home office and main administrative

11   offices located at 11222 Quail Roost Drive, Miami, FL.

12           37.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

13   that Defendant ABIC was neither incorporated with the state of Nevada, nor obtained, or attempted

14   to obtain any type of business license to conduct its business practices and operations with Nevada,

15   or Clark County, or in Las Vegas.

16           38.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

17   that Defendant ABIC is one of the insurers for the extended warranty contract issued by Defendant

18   EFG (the Administrator for the extended warranty contract) that was offered to Plaintiff, by

19   Defendant VPD, during the illegal, unauthorized and deceptive telemarketing and solicitation

20   telephone calls to Plaintiff. See Exhibit 1.

21           39.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

22   that Defendant ABIC, in collaboration with Defendants, and each of them (either individually or in

23   concert with others,. and either directly or indirectly), earns tens-of-thousands of dollars a year

24   through the use of illegal, unauthorized and deceptive telemarketing and solicitation telephone calls,

25
26
     13Defendant AMERICAN BANKERS INSURANCE COMPANY OF FLORIDA is a subsidiary of
27   ASSURANCE, Inc. .          ,

28                                                    -10-
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              1   to landline and wireless telephone numbers, without [first] obtaining the mandated written/oral

              2 consent l4 mandated to place, or cause to be placed, such unsolicited telemarketing and solicitation
              3   telephone calls.

              4           40.    That at all times relevant and material herein~ Plaintiff asserts, alleges and maintains

              5   that Defendant ABlC (either individually or in concert with others, and either directly or indirectly)

              6   was complicit, authorized and sanctioned each of the illegal acts complained of herein.

              7                                                    (5)

              8                      RETICULATED ADMINISTRATIVE SERVICES, INC.

              9           41.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

             10   that Defendant RETICULATED ADMINISTRATIVE SERVI<;:ES, INC. ("RASI") is aforeign

             11   corporation formed under the laws of the state of Texas.

             12           42."   That at all times r~levant and material herein, Plaintiff asserts, alleges and maintains

             13   that Defendaqt RASI holds itself out as having its corporate offices located at 122 West Carpenter

             14   Freeway, 6th Floor, Irving, Texas [the, identical corporate address for Defendant EFG].

             15           43.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

             16   that Defendant RASI [also] holds itself out as an Administrator for the extended warranty contract

             17   issued by Defendant EFG (the Administrator of the extended warranty) offered to Plaintiff, by

             18   Defendant VPD, through illegal, unauthorized and deceptive telemarketing and solicitation

             19   telephone calls. See Exhibit 1.

             20           44.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

             21   that Defendant RASI never obtained, or attempted to obtain any type of business license to conduct

             22   its business practices, activities and operations within Nevada, or Clark County, or in Las Vegas.

             23           45.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

             24   that Defendant RASI, in collaboration with Defendants, and each ofthem (either individually or in

             25   concert with others, and either directly or indirectly), earns tens-of-thousands of dollars a year

             26   through the use of illegal, unauthorized and deceptive telemarketing and solicitation telephone calls,

             27
                  14See n.6.
             28
                                                                  -11-
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 1 to landline and wireless telephone numbers, without [first] obtaining the mandated written/oral

 2    consent15 mandated to place, or cause to be placed, such unsolicited telemarketing and solicitation

 3. telephone calls.

 4            46.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 5    that Defendant RASI (either individually or in concert with others, and either direc!ly or indirectly)

 6    was complicit, authorized and sanctioned each of the illegal acts complained of herein.

 7                                                   .   (6)

 8                     BRICKELL FINANCIAL SERVICES-MOTOR CLUB INC.,
                           d/b/a ROAD AMERICA MOTOR CLUB, INC.,
 9                            d/b/a ROAD AMERICA MOTOR CLUB,

10            47.     That at all t~mes relevant and material herein, Plaintiff asserts, alleges and maintains

11    that Defendant BRICKELL FINANCIAL SERVICES-MOTOR CLUB INC., aldIb/a ROAD

12.   AM~RICA       MOTOR CLUB, INC., aldIb/a ROAD AMERICA MOTOR CLUB (collectively

13    "BRICKELL") is a Florida corporation holding itself out as having its principal place of business

14    located at 7300 Corporate Center Drive, Suite 601, Miami, Florida.

15            48.     That at all times relevant and m~terial herein, Plaintiff asserts, alleges and maintains

16    that Defendant BRICKELL [also] holds itself out as the Administrator offering [the] "Roadside

17    Services" for the extended warranty contract issued by Defendant EFG, that was offered to Plaintiff

18    during the illegal, unauthorized and deceptive telemarketing and solicitation telephone calls to

19    Plaintiff. See Exhibit 1.

20            49.    That at all times relevant and material herein, Plaintiff a~serts, -allege~ and maintains

21    that Defendant BRICKELL has never obtained, or attempted to obtain any type of business license

22    to conduct any type of business practices, activities and .operations within Nevada, or Clark County,

23    or in Las Vegas.

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27    15See n.6.

28                                                       -12-
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 1            50.    That at.aU·times relevant and material herein, Plaintiff asserts, alleges .and maintains

 2   that:Defendant BRICKELL, in collaboration with Defendants, and each of them (either individually

 3   or in concert with others, and either directly or indirectly), earns tens-of-thousands of dollars a year

 4   through the use of illegal, unauthorized and deceptive telemarketing and solicitation telephone calls,

 5   to landline and wireless telephone.numbers, without [first] obtaining the mandated written/oral

 6   consent l6 mandated to place, or cause to be placed, such unsolicited telemarketing and solicitation

 7   telephone calls.

 8            51.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 9   that Defendant BRICKELL (either individually or in concert with others, and either directly or

10   indirectly) was complicit, authorized and sanctioned each of the illegal acts complained of herein.

11                                                     (7)

12                                         JOHN PAPPANASTOS

13            52.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

14   that Defendant JOHN PAPPANASTOS ("PAPP ANASTOS"), a natural person, held himself out,

15   and continues to hold himself out as the President, CEO and a Director of and for Defendant EFG

16   and President of and for Defendant RASI.
17            53.    That at all times relevant and materiill herein, Plaintiff asserts, alleges and maintains

18   that Defendant PAPPANASTOS, in his capacity as the President, CEO and aDirector of and for

19   Def~ndantEFG,      and President of and for Defendant RASI, fonnulated, directed, controlled, had the

20   authority to control and participated in the everyday business acts, practices and activities of, by and

21   for Defendants EFG and RASI- including authorizing and condoning the utilization of each illegal,

22   unauthorized and deceptive telemarketing and solicitation telephone callEs] complained of herein.

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27   16See n. 6.

28                                                    -13-
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 1             54.   That at all times relevant and material herein, Defendant PAPPANASTOS, in his

2    capacity as the President, CEO and a Director of, by and for Defendant EFG, and President of, by

 3   and for Defendant RASI, oversees and provides leadership, direction, and guidance for all business

 4   activities of, for and on behalf of Defendants EFG and RASI, including Defendants EFG and RASI'

 5   illegal, unauthorized and deceptive telemarketing and solicitation: telephone calls complained of

 6   herein.

7              55.   That at all times relevant and material herein, Defendant PAPP ANASTOS, in his

 8   capacity as the President, CEO and a Director of and for Defendant EFG, and President of, by and

 9   for Defendant RASI, and in collaboration with Defendants, and each ofthem (either individually or

lOin concert with others, and either directly or indirectly), earns tens-of,;,thousands of dollars a year

11   through iPe use of illegal, unautho"'ize~ and deceptive telemarketing and solicitation telephone calis,

12   to landline and wireless telephone numbers, without [first] obtaining the mandated written/oral

13   consentl 7 mandated to place, or cause to be placed, such unsolicited telemarketing and solicitation

14   telephone calis.

15             56.   That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

16   that Defendant PAPPANASTOS (either individually or in concert with others, and either directly
17   or indirectly) was complicit, authorized and sanctioned each of the illegal acts complained of herein.

18                                                     (8)

19                                JASON RHODEN,'alk/a JR RHODEN

20             57.   That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

21   that Defendant JASON RHODEN, aIkIa JR RHODEN ("RHODEN"), a natural person, held himself

22   out, and continues to hold himself out as the Owner and Manager of, by and for Defendant VPD.

23             58.   That-at all times relevant and material herein, Plaintiff asserts, alleges and maintains

24   that Defendant RHODE~, in his capacity as the Owner and Manager of, by and for Defendant VPD,

25   formulated, directed, controlled, had the authority to control and participated in the everyday
                                            /

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27   17See n.6.

28                                                    -14-
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     business acts, practices and activities of, by and for Defendant VPD- including authorizing and

 2   condoning the utilization of each illegal, unauthorized and deceptive telemarketing and solicitation

 3   telephone caIl[s] complained of herein.

 4           59.    that at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 5   that Defendant RHODEN, in his capacity as the OWner and Manager of, by and for Defendant VPD,

 6   oversees and provides leadership, direction, and guidance for all business activities of, for and on

 7   behalf of Defendants VPD, including, but not limited to Defendan~s VPD' illegal, unauthorized and

 8   deceptive telemarketing and solicitation telephone calls complained of herein.
 9           60.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

10   that Defendant RHODEN, in his capacity as the Owner and Manager of, by and for Defendant VPD,

11   and in collaboration with Defendants, and each ofthem (either individually or in concert with others,

12   and either directly or indirectly), earns tens-of-thousands of dollars a year through the use of illegal,

13   unauthorized and deceptive telemarketing and solicitation telephone calls, to landline and wireless
14   telephone numbers, without [first] obtaining the mandated written/oral consent18 mandated to place,

15   or cause to be placed, such unsolicited telemarketing and solicitation telephone calls.

16           61.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains
17   that Defendant RHODEN, in his capacity as the Owner and Manager of, by and for Defendant VPD,

18   was complicit, authorized and sanctioned each ofth~ illegal acts complained of herein.

19                                                      (9)

20                        JOHN AUGUST FROBOSE, a/kla JOHN FROBOSE

21           62.     Th~t at all times relevant and material herein, Plaintiff asserts,   alleges and maintains

22   that Defendant JOHN AUGUST FROBOSE, alkla JOHN FROBOSE ("FROBOSE"), a natural

23   person, held himself out, and continues to hold himself out as the President, 'Chairman and Director

24   of, by and for Defendant ASIC.

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27   18See n.6.

28                                                     -15-
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 1          63.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 2   that Defendant FROBOSE, as President, Chainnan and Director of, by and for Defendant ASIC,

 3 . formulated, directed, controlled, had the authority to control and participated in the everyday

 4   business acts, practices and activities of, by and for Defendant ASIC, including authorizing and

 5   condoning the utilization of each illegal, unauthorized and deceptive telemarketing and solicitation

 6   telephone call[s] complained of herein.

 7          64.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 8   that Defendant FROBOSE, as President, Chairman and Director of, by and for Defendant ASIC,

 9   oversees and provides leadership, direction, and guidance for all business activities of, for and on

10   behalf of Defendant ASIC, including the authorization and condoning of each illegal, unauthorized

11   and deceptive telemarketing and solicitation telephone calls complained of herein.·

12          65.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

13   that Defendant FROBOSE, as President, Chairman and Director of, by and for Defendant ASIC, and

14   in collaboration with Defendants, and each ofthem (either individually or in concert with others, and

15   either directly or indirectly); earns tens-of-thousands of dollars a year through the use of illegal,

16   unauthorized and deceptive telemarketing and solicitation telephone calls, to landline and wireless
17   telephone numbers, without [first] obtaining the mandated written/oral consent19 mandated to plac~,

18   or cause to be placed, such unsolicited telemarketing and solicitation telephone calls.

19          66.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

20   that Defendant FROBOSE (either individually or in concert with others, and either directly or

21   indirectly) was complicit, authorized and sanctioned each of the illegal acts complained of herein.

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27   19Seen.6.

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 1                                                   (10)

 2                                    KATHERINE A. MCDONALD

 3          67.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 4   that Defendant KATHERINE A. MCDONALD ("MCDONALD"), a natural person, held herself

 5   out, and continues to hold herself out as the President and Director of, by"and for Defendant ABIC

 6   and a Director of, by and for Defendant ASIC. 20

 7          68.     That at all times relevant and material herein, Plaintiffasserts, alleges and maintains

 8   that Defendant MCDONALD as the President and Director of, by and for Defendant ABlC, and a

 9   Director of; by and for Defendant ASIC, formulated, directed, controlled, had the authority to control

10   and participated in the everyday business acts, practices and activities of, by and for Defendant ABIC

11   and Defendant ASIC, including authorizing and condoning the utilization of each illegal,

12   unauthorized and deceptive telemarketing and solicitation telephone call[s] complained of herein.

13          69.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

14   that Defendant MCDONALD as the President and Director of, by and for Defendant ABIC, and a

15   Director of, by and for Defendant ASIC, oversees and provides leadership, direction and guidance

16   for all [the] business a~tivities of, for and on behalf of Defendants ABIC and ASIC, including

17   Defendant ABlC and ASIC' involvement in the placing, or causing the placing of each illegal,

18   unauthorized and deceptive [auto dialed] telemarketing and solicitation telephone calls complained

19   of herein.

20           70.    That at all times relevant and material.herein, Plaintiff asserts, alleges and maintains

21   that Defendant MCDONALD, as the President and Director of, by and for Defendant ABIC, and a

22   Director of, by and for Defendant ASIC, and in collaboration with Defendants, and each of them

23   (either individually or in concert with others, and either directly or indirectly), earns tens-of-

24   thousands of dollars a year through the use of illegal, unauthorized and deceptive telemarketing and

25
26
     2°Defendant MCDONALD is also Vice-President and a Director of, by and for Assurant Insurance
27   Agency, Inc.                                                                          .

28                                                   -17-
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 1   solicitation telephone calls, to landline and wireless telephone numbers, without [first] obtaining the

 2   mandated written/oral consent21 mandated to place, or cause to be placed, such unsolicited

 3   telemarketing and solicitation telephone calls.

 4              71.   That atall times relevant and material herein, Plaintiff asserts, alleges and maintains

 5   that Defendant MCDONALD, as the President and Director of, by and for Defendant ABlC, and a.

 6   Director of, by and for Defendant ASIC, was (either individually or in concert with others, and either

 7   directly or indirectlyY complicit, authorized and sanctioned each of the illegal acts complained of

 8   herein.

 9                                                      (11)

10                       DENNIS Me NAIR FANTIS, alkla DENNIS M. FANTIS

11              72.   That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

12   that Defendant DENNIS MC NAIR FANTIS, a/kIa DENNIS M. FANTIS ("FANTIS"), a natural

13   person, held himself out, and continues to hold himself out as the President and Director of, by and

14   for Defendant BRICKELL and President, Chairman and Director of, by and for Defendant ASIC.

15              73.   That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

16   that Defendant FANTIS, as the President and Director of, by and for Defendant BRICKELL, and

17   President, Chairman and Director of, by and for Defendant ASIC, formulated, directed, controlled,

18   had the authority to control and participated in the everyday business acts, practices and activities

19   of, by and for Defendant BRICKELL and Defendant ASIC, including authorizing and condoning the

20   utilization of each illegal, unauthorized and deceptive telemarketing and solicitation telephone

21   caU[s] complained of herein.

22              74.   That at all times relevant and material herein, Plaintiff asserts, alleges· and maintains

23   that Defendant F ANTIS, as the President and Director of, by and for Defendant BRICKELL, and

24   President, Chairinan and Director-of, by and for Defendant ASIC, oversees and provides leadership,

25   direction and guIdance for all [the] business activities of, for and on behalf of Defendants

26
27   21 See   n. 6.

28                                                      -18-
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".




      1   BRICKELL and ASIC, including Defendant BRICKELL's and ASIC' involvement in the placing,

      2   or causing the placing of each illegal, unauthorized and deceptive [autodialed] telemarketing and

      3   solicitation telephone calls complained of herein.

      4             75.   That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

      5   that Defendant FANTIS, as the President and Director of, by and for Defendant BRICKELL, and

      6   President, Chairman and Director of, by and for Defendant ASIC, and in collaboration with

      7   Defendants, and ,each of them (either individually or in concert with others, and either directly or

      8   indirectly), earns tens-of-thousands of dollars a year through the use of illegal, unauthorized and

      9   deceptive telemarketing and solicitation telephone calls, to landline and wireless telephone numbers,

     10   without [first] obtaining the mandated written/oral consent22 mandated to place, or cause to be

     11   placed, such unsolicited telemarketing and solicitation telephone calls.

     12             76.   That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

     13   that Defendant FANTIS, as the President and Director of, by and for Defendant BRICKELL, and

     14   President, Chairman and Director of, by and for Defendant ASIC, was (either individually or in

     15   concert with others, and either directly or indirectly) complicit, authorized and sanctioned each of

     16   the illegal acts complained or herein.

     17                                                    (12)

     18                                      RUBEN SANTOS MARTIN

     19             77.   That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

     20   that Defendant RUBEN SANTOS MARTIN ("MARTIN"), a natural person, held himself out, and

     21   continues to hold himself out as the President, CEO, ~egional General Manager, and a Director by

     22 .and for Defendant BRICKELL, '

     23             78.   That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

     24   that Defendant MARTIN, as 'the President, CEO, Regional General Manager, and a Director by and

     25   for Defendant BRICKELL, formulated, directed; controlled, had the authority to control and

     26
     27   22See   n. 6,

     28                                                    -19-
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 1   participated in the everyday business acts, practices and activities of, by and for Defendant

 2   BRICKELL, including authorizing and condoning the utilization of each illegal, unauthorized and

 3   deceptive telemarketing and solicitation telephone call[s].complained of herein.

 4            79.    That at all times relevant and material her~in, Plaintiff asserts, alleges and maintains

 5   that Defendant MARTIN, as the President, CEO, Regional General Manager, and a Director by and

 6   for Defendant BRICKELL, oversees and provides leadership, direction and guidance for all [the]

 7   business activities of, for and on behalf of Defendants BRICKELL, including Defendant

 8   BRICKELL's involvement in the placing, or causing the placing of each illegal, unauthorized and

 9   deceptive [autodialed] telemarketing and solicitation telephone calls complained of herein.

10            80.   That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

11   that Defendant MARTIN, as the President, CEO, Regional General Manager, and a Director by and

12   for Defendant BRICKELL,and in collaboration with Defendants, and each of them (either

13   individually or in concert with others, and either directly or indirectly), earns tens-of-thousands of

14   dollars a year through the use of illegal, unauthorized and deceptive telemarketing and solicitation

15   telephone calls, to landline and wireless telephone nombers, without [first] obtaining the mandated

16   written/oral consent23 mandated to place, or cause to be placed, such unsolicited telemarketing and

17   solicitation telephone calls.

18            81.   That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

19   that Defendant MARTIN, as the President, CEO, Regional General Manager, and a Director by and

20   for Defendant BRICKELL, was (either individually or in concert with others, and either directly or

21   indirectly) complicit, authorized and sanctioned each of the illegal acts complained of herein.

22          ' 82.   That Plaintiff is unaw.are'ofthe true names and legal capacities whether individual,

23   corporate, associate, or otherwise, of Defendants DOES I-X, and ROE CORPORATIONS XI-XX

24   sued herein inclusive, and therefore sues those Defendants and any Co-Defendiillts by such fictitious

25   names.

26
27   USee n. 6.

~                                                    .~~
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 1           83.     That Plaintiff is ,informed and believes, and thereon alleges that each of the

 2    Defendants (EFG COMPANIES, a/dIb/a EFG AGENCY, INC., a/d/b/a EFgUSA.COM, a/dIb/a

 3    ENTERPRISEFINANCIALGROUP,INC.,andVEHICLEPROTECTIONDEPARTMENT,LLC,

 4    and AMERICAN SECURITY INSURANCE CO., and AMERICAN BANKERS INSURANCE

 5    COMPANY OF FLORIDA, and RETICULATED ADMINISTRATIVE SERVICES, INC., and

 6    BRICKELL FINANCIAL SERVICES-MOTOR CLUB INC., d/b/a RoAD AMERICA MOTOR

 7    CLUB, INC., d/b/a ROAD AMERICA MOTOR CLUB, and VEHICLE PROTECTION

 8    DEPARTMENT, LLC., and JOHN P APPANASTOS, and JASON RHODEN, a/k/a JR RHODEN,

 9    and JOHN AUGUST FRO BOSE, a/k/aJOHN FROBOSE, andKATHERINE A. MCDONALD, and

10    DENNIS MC NAIR FANTIS, a/k/a DENNIS M.FANTIS, a~d RUBEN SANTOS MARTIN, and

11    DOES I-X, and ROE CORPORATIONS XI-XX, et al.), are in some way legally responsible and

12    liable for the events referred to hereinafter, and proximately caused the damages alleged,herein.

13           84.     That·at·all times relevant and material herein, Defendants, in doing the acts and

14    omissions alleged herein, acted individually and/or through their officers, partners, directors,

15    associates, agents, employees and co-conspirators, indudin'g, but not limited to the fictitious

16    Defendants and any Co-Defendants named herein as DOES I-X and ROE CORPORATIONS XI-XX,

17    each of whom was acting within the purpose and scope ofthat agency, employment and conspiracy,

18    and said acts and omissions were known to, and authorized and ratified by, each of the other

19    Defendants.

20           85.     That Plaintiffpray leave to insert said D01?S I-X, and ROE CORPORATIONS Xl-

21    XX DOES' true names and legal capacities when ascertained.

22    ...
23
24
25
26
27,

28                                                   -21-
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 1                                                      IV.

 2                                       FACTUAL ALLEGATIONS
                                               (First Set) ,
 3
             1.      First Telemarketing/Solicitation. Telephone Call to Plaintiff's Residential
 4                   Telephone Number (June 8, 2017@3:16 p.m.):

 5                   Plaintiff repeats, realleges, and incorporates by reference paragraphs one through

 6   eighty-five as aforementioned.

 7                   86.     That at all times relevant and material· herein, Plaintiff asserts, alleges and

 8   maintains that Defendant, and each of them (either individually or in concert with others, and either

 9   directly or indirectly) were the causation for the utilization ofthe telephone as its instrumentality [ies]

10   of interstate commerce to place, or cause to be placed its illegal, unauthorized and deceptive

11   telemarketing and solicitation telephone calls to Plaintiffs telephone numbers (702.341.1776/

12   702.893.1776) as complained of herein.

13                   87.     . That at all times .relevant and material herein, Plaintiff asserts, alleges and

14   maintains that on June 8, 2017@3: 16 p.m., Defendants (either individually or in concert with others,

15   and either directly or indirectly)were the causation of an illegal, unauthorized and deceptive

16   autodialed telemarketing and solicitation telephone call to Plaintiffs telephone number

17   (702.341.1776) through the utilization of one (1) or more autodialers, without first obtaining

18   written or oral [prior express] consent from the Plaintiff to receive such calls.

19                   88.     That at all times relevant and material herein, Plaintiff asserts, alleges and

20   maintains that on June 8, 2017@3:.16 p.m., Defendants (either individually or in concert with others,

21   and either directly or indirectly) were the causation of an illegal, unauthorized and deceptive

22   [autodialed] telemarketing and solicitation telephone call to Plaintiff's telephone number

23   (702.341.1776) for the sole purpose of encouraging Plaintiff to purchase and invest in Defendants'

24   goods or services.

25

26

27

28                                                      -22-
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 1                   89.      That at all times relevant and material herein, Plaintiff asserts, alleges and

 2   maintains that the June 8, 2017 (3: 16 p.m.) illegal, unauthorized and deceptive telemarketing and

 3   solicitation telephone call to Plaintiffs telephone number was displayed (on Plaintiffs telephone

 4   caller ID ("CID"» as originating from the telephone number 1.702.359.556824 and the location of

 5   Las Vegas, NV.

 6                   90.      That at all times relevant and material herein, Plaintiff asserts, alleges and

 7   maintains that he d~dnot answer the [incoming] June 8,2017 (3:16 p.m.) telephone call, nor did the

 8   caller leave any message. 25

 9                   91.      That at all times relevant and material herein, Plaintiff asserts, alleges and

10   maintains that when Plaintiff called the 702.359.556826 telephone number, in order to discover who

11   called, an outgoing message stated, in pertinent part-

12                            "Thank you for calling the Vehicle Protection
                              Department..."-
13
             Plaintiff terminated the call, not speaking with anyone.
14
             2.      Second Telemarketing/Solicitation Telephone Call to Plaintiffs Wireless
15                   Telephone Number (June 9, 2017@11:41 a.m.):

16           Plaintiff repeats, realleges, and incorporates by reference paragraphs one through ninety-one

17   as aforementioned.

18                   92.      That at all times relevant and material herein, Plaintiff asserts, alleges and

19   maintains that Defendant, and each of them (either individually or in concert with others, and either

20   directly or indirectly) were the causation for the utilization ofthe telephone as its instrumentality [ies ]

21 ' of in~erstate commerce to place, or cause to be placed its illegal, unauthorized and deceptive

22

23   24Plaintiff maintains that this telephone number was intentionally "spoofed." The word "spoofed"
24   has been defined as deliberately falsifying, altering, or manipulating the calling party[ies] telephone
     number and/or name relayed as the Caller ID information to disguise the identity ofthe calling party.
25   25The FCC's interpretation of 47 U.S.C. § 227(b)(1 )(A) is consistent with the dictionary's definition
26   of call in that it is defined as "to communicate with or try to get into communication with a person
     by telephone." Satterfield v. Simon & Schuster, Inc., 569 F.3d 946 (9th Cir. 06/19/2009).
27   26Number can not be called when preceded by "1."

28                                                      -23-
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 1   telemarketing and solicitation telephone calls to Plaintiffs telephone number (702.341.1776 /

 2   702.893.1776) as complained of herein. .

 3                   93..     That at all times relevant and material herein, Plaintiff asserts, alleges and

 4   maintains that on June 9, 2P 17@11 :41 AM, Defendants (eitherindividually orin concert with others,

 5   and either directly or indirectly)were the causation of an illegal, unauthorized and deceptive

 6 . autodialed telemarketing and solicitation telephone call to Plaintiffs wireless telephone number

 7   (702.893.1776) through the utilization of one (1) or more autodialers, without first obtaining

 8   written or oral [prior express] consent from the Plaintiff to receive such calls.

 9                    94.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

10   that on June 9, 2017@1 1:41 a.m~, Defendants (either individually or in concert with others, and either

11   directly or indirectly) were the causation of an illegal, unauthorized anddeceptive [autodialedJ telemarketing

12   and solicitation telephone call to Plaintiffs telephone number       (~02.893 .1776)   for the sole purpose of

13   encouraging Piaintiffto purchase and invest in Defendants' goods or services.

14                    95.     That at all times relevant and material herein, Plaintiff asserts, alleges and

15   maintains that the June 8, 2017 (3:16 p.m.) illegal, unauthorized and deceptive telemarketing and

16   solicitation-telephone call to Plaintiffs telephone number was displayed (on Plaintiff's telephone

17   caller ID ("CID"» as originating from the telephone number 1.702.359.556827 and the location of

18   NO NAME.

19                   96.      That. at all times relevant and material herein, Plaintiff asserts, alleges and

20   maintains that when Plaintiff answered the June 8, 2017 (3:16 p.m.) illegal, unauthorized and

21   deceptive telemarketing and solicitation telephone call, the caller stated that he was calling from the

22   "Vehicle Pr~tection Department"- Plaintiff terminated the cali.28

23

24

25

26
27   27See n. 23.
     28See n:24.
28
                                                          -24-
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 1           3.      Third Telemarketing/Solicitation Telephone Call to Plaintiffs Residential
                     Telephone Number (July 3, 2017@8:54 a.m.):
 2

 3           Plaintiff repeats, realleges, and incorporates by reference paragraphs one through ninety-six

 4   as aforementioned.

 5                   97.      That at all times relevant and material herein, Plaintiff asserts, alleges and

 6   maintains that Defendant, and ~ach ofthem (either individually or in concert with others, and either

 7   directly or indirectly) were the causation for the utilization of the telephone as its instrumentality [ies]

 8   of interstate commerce to place, or cause to be placed its illegal, unauthorized and deceptive

 9   telemarketing and solicitation telephone calls to Plaintiffs telephone nUmber (702.341.1776 /

10   702.893.1776) as complained of herein.

11                   98.      That at all times relevant and material herein, Plaintiff asserts, alleges and

12   maintains that on July 3, 20 17@8:54 a.m., Defendants (either individually or in concert with others,

13   and either directly or indirectly)were the causation of an illegal, unauthorized and deceptive

14   autodialed. telemarketing and solicitation telephone call to Plaintiffs telephone number

15   (702.341.1776) through the·utilization of one (1) or more autodialers, without first obtaining

16   written or oral [prior express] consent from the Plaintiff to receive such calls.

17                   99.      That at all times relevant and material herein, Plaintiff asserts, alleges and

18   maintains thl:lt on July 3, 20 17@8:54 a.m., Defendants (either individually or in concert with others,

19. and either directly or indirectly) were the causation of an .illegal, unauthorized and deceptive

20   [autodialedJ telemarketing and solicitation telephone call to Plaintiffs telephone number

21   (702.341.1776) for the sole purpose of encouraging Plaintiff to purchase and invest in Defendants'

22   goods or services.

23                   100.     That at all times relevant and material herein, Plaintiff asserts, alleges and

24   maintains that the July 3, 2017 (8:54 a.m.) illegal, unauthorized and deceptive telemarketing and

25   solicitation telephone call to Plaintiff's telephone number was displayed (on Plaintiff's telephone

26

27

28                                                      -25-
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 1   caller ID ("CID"» as originating from the telephone number 1.702.359.556829 and the location of

 2   Las Vegas, NV.

 3                  101.    That at all times relevant and material herein, Plaintiff asserts, alleges and

 4   maintains that when Plaintiff answered the July 3,2017 (8:54 a.m.) incoming call, the callero stated

 5   he was calling from the Vehicle Protection Department regarding an extension of the mechanical

 6   breakdown protection for Plaintiff s 2014 Ford Fusion. 31

 7                  102.    That at all times relevant and material herein, Plaintiff asserts, alleges and

 8   maintains that Plaintiff advised the caller that the conversation was being recorded- the caller did

 9   not object.

10                  103.    That at·all times relevant and material herein, Plaintiff asserts, alleges and

11   maintains that caller McCalister advised Plaintiff there was a Ford Coverage Specialist on the other

12   line waiting to speak with Plaintiff.

13                  104.    That at all times relevant and material herein, Plaintiff asserts, alleges and

14   I!laintains that caller McCalister transferred me to a person identifying himself as "Daryl"- "Senior

15   Coverage Specialist for the 2014 Ford Fusion."

16                  105.    That at all times relevant and material herein, Plaintiff asserts, alleges and
17   maintains that "Daryl" stated, in pertinent part, the following:

18                   "The reason for the call is, it looks like your vehicle factory warranty
                    .coverage has expired... and this is an opportunity for you to purchase
19                   a protection plan ...I'm sure you'd like to know what that would cover
                     and costs ... " (Daryl then transferred Plaintiff to another person
20                   identified as a "Authorization" person).

21                  106.    That at all times relevant and material herein, Plaintiff asserts, alleges and

22   maintains that Plaintiff was transferred to a person identifying himself as "Brandon" in the

23   Authorization Department. Brandon then stated, in pertinent part, the following:

24

25   29See n.23.
     30rhe caller identified himself as [Marv or Mark or Martin (undistinguishable)] McCalister
26
     31The milage displayed on Plaintiffs 2014 Fusion was [only.] 9,000 miles- accordingly, the
27   manufactures warranty had not expired.

28                                                    -26-
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 1                  "Now the ca,ll is being recorded for the company's protection as well
                    as yours ... " (Brandon then asked several questions regarding the
 2                  milage~ condition and use of the 2014 Ford Fusion). Brandon then
                    advised Plaintiff that the vehicle does qualify for the "highest level
 3                  protection pl~n," and he will advise Daryl that of that.
                    However, before transferring Plaintiff back to Daryl,. Brandon told
 4                  Plaintiff that Plaintiff must accept or decline the off~r at the end of
                    the call.
 5

 6          107.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 7   that Plaintiff was transferred back to Daryl, who made, in pertinent part, the following statements.

 8                    "I've got a 5 year, 125,000 plan ... this is the highest level of coverage
                      you can geL. this is gonnacover you until August 3, 2022, or 126,000
 9                    miles on the odometer- whichever comes first. It will cover all the
                      components on the vehicle, minus wear & tear items ... this is really
10                    the only type of policy that will cover computers and sensors and
                      things like that...The deductible on the policy is $100.00- that's the
11                    most that they'll charge you for any repair... towing is included, so if
                      you are stuck they will tow you to the service department, free of
12                  . charge. They provide rental any time the vehicle is going to be in the
                      shop, and you'll have 24 hour emergency roadside assistance with us
13                    as well .. .if you break it down on an annual basis, the cost of the
                      coverage comes out to just $579 a year... that work's out to $1.61
14                    cents a day ... the total for the policy comes out to just $2899.00. If you
                      want to pay it in full, that is the least expensive way you can get this
15                    plan. I can do this for $2300.00 paid-in-fuIL.what most people do is
                   . take advantage of our interest free financing, and I've got a number
16                    of different ways you can do this. Now the first option is the quick
                      payment, which is the most aggressive way of paying it off.. .that
17                    would be a $495.00 down payment. You'd have l2 interest free
                      payments of$233.00, and then in one year's time the policy's paid in
18                    full 32 ••• Second option is $395.00 down, and 15 payments $166.93, or
                      you can do $295.00 down and we'd go 18 payments of$144.67 .. .it'11
19                    take 3 to 5 days for you to receive the new policy in the mail, and
                      then you'll have a 30 day review period once you receive it ...Now the
20                    &295 down, you can do that with a credit card, debit card, or a check
                      over the phone, so what would work best for you?
21
22          108.    That at all times relevant and material her~in, Plaintiff asserts, alleges and maintains

23 'that the following conversation took-place between Plaintiff and Daryl-·

24                  Plaintiff:     . ... and what company is offering this?

25

26
     32This payment method, purportedly interest free, amounts to $3291- exceeding the "full price" of
27   the policy by $ 3 9 2 . 0 0 . ' , .

28                                                     -27-
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","




       1                    Daryl:         .. .I'm calling you from the Vehicle Protection Department. We're the
                                           vendors for the mechanical breakdown protection plan, bought, sold,
       2.                                  accepted and recognized through~ut the 48 states nationwide ...

       3                    Plaintiff:      Can you email me something to read, or mail me something to read
                                            while we're talking so I can see exactly what's-what...I'm sure what
       4                                    your telling me is not the entire... p·olicy.

       5                    Daryl:          What details are you looking for-are you thinking about?

       6                    Plaintiff:       (Plaintiff stated several eXainples) ... all you've given me is a basic
                                            broad coverage, I'm sure it's more specific than that. Before I give you
       7                                    several-hundred dollars I want to be able at least read something...

       8                    Daryl:          .. .like I said. You have a 30 day review period, so that you'll have 30
                                            days to read the plan and make sure ...
       9
                            Plaintiff:      .. .in order to do that I have to give you money first. Correct?
      10
                            Daryl:          Just a minimal down payment, which is fully refundable ...
      11
                            Plaintiff:      ...again, you want me to give you money before I have anything to
      12                                    read, based on some broad information you gave me. I'm sure there's
                                            more to it than, then the basic information. I'd like to read, even a
      13                                    sample ... so I know what I'm paying for ...

      14                    Daryl:          .. Jet-me get you em~il address ...(Plaintiff provided his Yahoo email
                                            address) .. .I'm going to email you a sample of the policy... (the policy
      15                                    emailed to Plaintiff is attached hereto as Exhibit 1)

      16                    Plaintiff:      Plaintiff then advised Daryl that the number called by Defendants is
                                            on, and has been on the National DO-NOT-CALL Registry. The call
      17                                    was disconnected.

      18                                                      V.

      19                                       FACTUAL ALLEGATIONS
                                                    (Second Set)
      20
      21            Plaintiffrepeats, realleges, and incorporates by reference paragraphs one through one hundred

      22    and eight as aforementioned.

      23            109:    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains
      24    that Defendants (either individually or in concert with others, and either directly or indirectly) were,

      25    and continue to be aware that autodialed telemarketing telephone calls are illegal and violative of
      26    the TCPA, unless the caller first obtains written or oral prior express consent from the called party.

      27    See, In the Matter ofRules and Regulations Implementing the Telephone Consumer Protection Act

      28                                                     -28-
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 1   of1991, FCC Report and Order, CG Docket No.          02-278,~   68 (Feb. 15,2012) ("2012 Report and

 2   Order")("Once our written consent rules become effective, however, an entity will no longer be able

 J   to rely on non-written fOTIns of express consent to make autodialed or prerecorded voice
              "

 4   telemarketing calls, and thus could be liable for making such calls absent prior written consent. ").

 5           110.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 6   that Defendants (either individually or in concert with others, ,and either directly or indirectly) failed

 7   to take appropriate measures to prevent violations as those complained of herein.

 8           111.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 9   that Defendants (either individually or in concert with others, and either directly or indirectly)

10   collaborated and worked in concert with each other to cause Defendants' illegal, unauthorized and

11   de~eptive    telemarketing and solicitation telephone calls to Plaintiff's telephone numbers

12   (702.341.1776/702.893.1776), witn:out first obtaining (either) the written or verbal consent of the

13   Plaintiff to receive such calls from Defendants.

14           112.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

15   that Defendants, and each of them did (either individually or in concert with others, and either

16   directly or indirectly), violate several sections of Nevada' s Revised Statutes ("NRS"); the Telephone

17   C,onsumer Protection Act ("TePA"), 47 U.S.C. §§ 227 et seq. (unless the context otherwise

18   indicates); and the Rules and Regulations Implementing the TCPA, C.F.R.'§ 64.1200 et seq. (unless

19   the context
           .
                 otherwise indicates)- by causing
                                          . . -
                                                  the "willful" and "knowing" transmissions33 of illegal,

20   unauthorized and deceptive telemarketing and solicitation telephone calls to Plaintifrs

21

22   33"TRANSMIT," "TRANSMITTED, or "TRANSMISSION," as used herein, shall each mean
     any act leading to the eventua~ causing, placing, generating, disseminating, promulgating,
23   broadcasting, propagating, telephoning or distribution of an artificial or human voice, or pre-recorded
     message, or a text message to a landline (hard-wired) or wireless telephone user. Each shall also
24   mean the dispatching, for' reception elsewhere, of a signal, messag,e, text, or other form of
     information. "TRANSMIT" "TRANSMITTED," or "TRANSMISSION," as used herein, shall
25   not be limited to the final act prior to reception by a landline (hard-wired) or cellular telephone user,
26   but shall include all acts materially advancing the causing, placing, generating, disseminating,
     promulgating, broadcasting, telephoning or distribution of an artificial or human voice, or pre-
27   recorded l11essage, or text message to a landline (hard-wired) or cellular telephone user.

28                                                     -29-
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  -1    residential and wireless telephone numbers (702.341.1776/702.893.1776) without first obtaining

   2    the written or oral express consent from the Plaintiff to receive such calls.

    3           113.      That at all times 'relevant and material herein, Plaintiff asserts, alleges and maintains

   4    that Defendants, and each of them (either individually or in concert with others, and either directly

    5   or indirectly) violated the NRS, TCPA and R&R by causing the "willful" and "knowing"

    6   transmission of illegal, unauthorized and deceptive telemarketing and solicitation34 telephone calls

    7   to Plaintiff s residential and wireless telephone numbers (702.341.1776/702.893.1776) without first

    8   obtaining Plaintiffs prior express consent, or any consent (either written or verbally) to receive such

    9   calls, thus   viola~ing   47 U.S.C. §227(b)(I)(A)(iii), which prohibits any person     w~thin   the United

  10    States from making any call, other than for emergency purposes or with the prior express consent

. ·11   of the recipient, through any Automatic Telephone Dialing System ("ATDS" or "autodialer"or

  12    "autodialing,,)35 to telephone numbers assigned to a cellular telephone service;

  13            114.      That at all times relevant and material herein, Plaintiffasserts,.alleges and maintains

  14    that Defendants, and each of them (either individually or in concert with others, and either directly

  15    or indirectly) utilized one (1) or more ATDS to place, or cause to be placed three (3) illegal,

  16    unauthorized and deceptive autodialed telemarketing and solicitation telephone calls to Plaintiff's

  17    residential and wireless telephone numbers by, for, or on behalf of Defendants- calls that were not

  18    for an emergency purposes and was transmitted without Plaintiffs prior express consent.

  19

  20    34The term "telephone solicitation" means the initiation of a telephone call or message fot the
        purpose of encouraging the purchase ... of...goods, or services, which is transmitted to any person...4 7
  21    C.F.R. 64.1200(c).
        35The term "AUTOMATIC TELEPHONE DIALING SYSTEM," "AUTODIALER,"
  22
        "PREDICTIVE DIALER," and "ROSOCALL" (collectively "ATDS"), as those terms are used
  23    herein, refers to and means, but is not limited to, equipment which has the capacity- (1) to store or
        produce telephone numbers to be called, using a random or sequential number generator; (2) to dial
  24    such numbers; (3) hardware, when paired with certain software, has the capacity to store or produce
        numbers and dial those numbers at random, in sequential order, or from a database of numbers; (4)
  25    equipment that dials numbers and, when certain computer software is attached, also assists in
  26    predicting when an agent will be available to take calls; and, (5) a system that need not actually store,
        produce, or call randomly or sequentially generated telephone numbers, but only have the capacity
  27    to do it.                   '

  28                                                        -30-
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 1          115.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 2   that Defendants, and each of them (either individually or in concert with others, and either directly

 3   or indirectly) engaged in, or caused to. be engaged in         illegal, unauthorized and deceptive

 4   telemarketing and solicitation telephone calls to Plaintiff's residential and wireless telephone

 5   numbers, subsequent to Plaintiff placing his telephone numbers on the National DO-NOT-CALL

 6   Registry.

 7        - 116.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 8 that Plaintiff owned,   op~rated and controlled   a residential telephone with the assigned telephone

 9   number of 702.341.1776.

10          117.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

11   that Plaintiff owned, operated and controlled a cellular telephone with the assigned telephone

12   number of 702.893.1776.

13           118.   That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

14   that Defendants, and each of them (either individually or in concert with others, and either directly

15   or indirectly) owned, operated and/or controlled "customer premises equipment" as defined by the

16   TCA, 47 U.S.C. § 153(16).

17           119.   That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

18   that Defendants, and each ofthem (either individually or in concert with others, and either directly

19   or indirectly) engaged in "interstate communications" as defined by the TCA, 47 U.S.C. §

20   153(28).,,36

21           120.   That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

22   that Defendants, and each of them (either individually or in concert with others, and either directly

23   or indirectly) engaged in, or caused to be engaged in "[tele] communications" as defined by the TCA,

24   47 U.S.C. § 153(50).37

25
26

27
     36Communications Act of 1934, Public Law No. 416, June 19, 1934 (Title I, Sec. 3(e».
28   37AIso see Satterfield v. Simon & Schuster, Inc., 569 F.3d 946 (9th Cir. 06/19/2009) ..

                                                     -31-
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 1           121.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 2   that Defendants, and each ofthem (either individualiy or in concert with others, and either directly

 3   or indirectly) utilized, controlled, operated and authorized the utilization of one (1) or more

 4   "Automatic Telephone Dialing Systems"-asdefined by, but not limited to 47 U.S.C. § § 227(a)(1),

 5   227(a)(1)(A) & (B) and 47 C.F.R. 64.1200(f)(1)38- to place, or cause to be placed illegal,

 6   unauthorized and deceptive autodialed telemarketing and solicitation telephone calls to Plaintiff s
 7   residential and wireless telephone numbers (702.341.1776 / 702.893.1776) without first obtaining

 8   Plaintiff s written consent.

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19   38The term "AUTOMATIC TELEPHONE DIALING SYSTEM," "AUTODIALER,"
     "PREDICTIVE DIALER," and "ROBOCALL" (collectively "ATDS"), as those terms are used
20   herein, refers to and means, but is not limited to, equipment which has the capacity- (1) to store or
     produce telephone numbers to be called, using a random or sequential number generator; (2) to dial
21   such numbers; (3) hardware, when paired with certain software, has the capacity to store or produce
     numbers and dial those numbers at random, in sequential order, or from a database of numbers; (4)
22
     equipment that dials numbers and, when certain computer software is attached, also assists in
23   predicting when an agent will be available to take calls; and, (5) a system that need not actually store,
     produce, or call randomly or sequentially generated telephone numbers, but only have the capacity
24   to do it. The Federal Communication Commission ("FCC") has emphasized that the definition of
     "automatic telephone dialing system" covers any equipment that has the specified capacity to
25   generate numbers and dial them without human intervention whether or ,not the numbers called
26   actually are randomly or sequentially generated or come from a calling list. As noted, the FCC has
     used "robocall" to refer both to calls placed using an automatic telephone dialing system and to
27   prerecorded calls without reference to whether such prerecorded calls are made with an autodialer.

28                                                    '-32-
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 1           122.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 2   that Defendants, and each of them (either individually or in concert with others, and either directly

 3   or in.directly) employed, or caused to be employed, one or more ATDS' to "willfully" or

 4   "knowingly,,39 target Defendants' illegal, unauthorized and deceptive telemarketing and solicitation

 5   telephone call to Plaintiffs residential and wireless telephone numbers without first obtaining

 6   Plaintiff s written consent to receive such calls.

 7           123.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 8   that Defendants, and each of them (either individually or in concert with others, and either. directly

 9   or indirectly), in violation ofthe regulations prescribed, altogether failed to establish and implement

10   reasonable practices and procedures to effectively prevent Defendants' illegal, unauthorized and

11   deceptive telemarketing and solicitation telephone calls to Plaintiff's residential and wireless

12   telephone numbers;

13
     39Albeitthe TCPA does not define the term "willfully," in the "willfully or knowingly" standard set
14   forth in Section 227(b)(3)(C)- Section 312, Title 47, of the U.S.C. defines "willful." There,
15   "willful" is defined as the "conscious and deliberate commission or omission of such act, irrespective
     of any intent to violate any provision of this chapter or any rule or regulation of the Commission
16   authorized by this chapter, or by a treaty ratified by the United States." Section 312(f)(1). Title 47,
     U.S.C. Also see the Communications Act of1934, Section 151 et seq., Tide 47, U.S.C., which is the
17   Act the TCPA derived from. Hence, to establish a "willful" violation under the TCPA, for the award
     of treble damages, Plaintiff need not prove that Defendants knew it violated the law when it placed,
18   or caused to be placed auto dialed or pre-recorded calls to Plaintiff s wireless telephone- only that
19   Defendants knew the calls were being placed - - and Defendants have admitted that they "knew the
     calls were being placed."
20   In Bryan v. United States (1998), 524 U.S. 184, 118 S.Ct.1939, 141 L.Ed.2d 197, the United States
     Supreme Court explained that '''knowingly' does not necessarily have any reference to a culpable
21   state of mind or to knowledge of the law. As Justice Jackson correctly observed, ~the knowledge
     requisite to knowing violation of a statute is factual knowledge as distinguished from knowledge of
22
                                         v.
     the law.' [Boyce Motor Lines, Inc. United States (1952), 342 U.S~ 337, 345, 72 S.Ct. 329,96 L.Ed.
23   367.] * * * Thus, unless the text of the statute dictates a different result, the term 'knowingly' merely
     requires proof of knowledge of the facts that constitute the offen.se." (Footnote omitted.) rd. at 193,
24   118 S.Ct. 1939, 141 L.Ed.2d 197. ~lso see United States v. Cohen (C.A.2, 2001), 260 FJd 68, 76
     (it matters only that defendant knowingly committed the deeds forbidden by statute, not that he
25   intended to violate the statute). Accordingly, for an award of treble damages under the TCPA, the
     term "knowingly" requires that liability be imposed even without Defendants' knowledge that the
26
     conduct violated the statute. To establish a "knowing" violation of the TCPA, for an award of treble
27   damages, Plaintiff must prove only that the Defendants knew of the facts that constituted the offense.
     Such knowledge of the "facts that constitute the offense" does not mean that Defendants must know
28   that certain conduct actually violates a law.

                                                       -33-
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'"


      1            124.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

      2   that Defendants' illegal, unauthorized and deceptive telemarketing and solicitation telephone calls

      3   to Plaintiffs residential and wireless telephone numbers constituted a "communication" as defined

      4   by 47 U.S.C. § 227(b)(1)(A) of the TCPA. 40

      5            125.    That at'all times relevant and material herein, Plaintiff asserts, iilleges and maintains

      6   that each and every act and omission ofDefendants were undertaken wantonly, willfully, negligently,

      7   maliciously, intentionally, with malice and oppression, and gross and reckless disregard ofthe rights

      8   of the Plaintiff, and all applicable laws.

      9            126.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

     10   that"as a result of the acts and omissions of Defendants, and each of them, and in order to punish

     11   Defendants for their malicious and illegal conduct, as well as to deter Defendants from committing

     12   similar acts in the future, Plaintiff is entitled to recover any statutory, actual, punitive and exemplary

     13   damages for Defendants' NRS, R&R, TCA and TCPA violations- in amounts to be determined at

     14   trial.

     15            127.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

     16   that Defendants neither maintained; nor maintains procedures designed to comply with the

     17   Telephone Consumer Protection Act of 1991, Public Law 102-243, which amended the

     18   CO.l111llunications Act of 1934 by adding a new section 47 U.S.C. § 227 et seq.

     19            128.    That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

     20   that Defendants neither maintained, nor maintains procedures designed to comply with Nevada's

     21   Revised Statutes.

     22            129., . That at all times relevant and material herein, Plaintiff asserts, alleges and maintains
     23   that at all. times material and relevant hereto, each and every act and omission of Defendants; and

     24   each of them (either individually or in concert with others, and either directly or indirectly) were

     25
     26    4°TheFCC's interpretationof47 U.S.C. § 227(b)(1)(A) is consistent with the dictionary'S definition
          .of call in that it is defined as "to communicate with or try to get into communication with a person
     27    by telephone." Satterfield v. Simon &Schuster, Inc., 569 FJd 946 (9th Cir. 06/19/2009).

     28                                                     -34-
      Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 44 of 73
.,.



       1   undertaken wantonly, willfully, rtegligently,maliciously, intentionally, with malice and oppression,

       2   and gross and reckless disregard of the rights of the Plaintiff.

       3                                                     VI.

       4                                      FIRST CLAIM FOR RELIEF

       5                             (Defendants Violations of the TCA and TCPA)

       6          Plaintiffrepeats, realleges, and incorporates by reference paragraphs one through one hundred

       7   and twenty-nine as aforementioned.

       8           130.     That at all times relevant and material herein~ Plaintiff asserts, alleges an~ maintains

       9   that Defendants, and each of them (either individually or in concert with others, and either directly

      10   or indirectly) are violative of federal acts, including, but not limited to the   Telepho~e   Consumer

      11   Protection Act of 1991, Public Law 102-243, December 20, 1991, which amended Title II of the

      12   Communications Act of 1934,47 U.S.C. § 201 et seq., by adding a new section, 47 U.S.C. § 227;

      13   Title 47 -Telecommunication Chapter I -Federal Communications Commission Part 64

      14   iMiscellaneous, Rules Relating to Common Carriers -Subpart L -Restrictions on T~lephone

      15   Solicitation Sec. 64.1200, Delivery Restrictions, and The Communications Act of 1934,47 U.S.C.

      16   § 151, et seq.

      17           131.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

      18   that Defendants, and each of them (either individually or in concert with others, and either directly

      19   or indirectly) wantonly, willfully, negligently, maliciously and intentionally failed to comply with

      20   the requirements of Telephone Consumer Protection Act ofl991, 47 U. S. C. § 227 et seq., the Rules

      21   and Regulations Implementing the TCPA, 47 C.F.R. 64.1200 et seq.,and The Communications Act

      22   of1934, 47 U.S.C. § 151, et seq.

      23           132.     That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

      24   that Defendants, and each ofthem (either individually or in concert with others, and either directly

      25   or indirectly), illegally utilized one (1) or more Automatic Telephone Dialing Systems that had

      26 . capacity to store or produce telephone numbers using random or sequential number generation, and

      27   used said ATDS to dial and call the telephone numbers assigned to Plaintiff's residential and cellular

      28   telephone.

                                                             -35- .
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 1           133.   That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 2   that Defendants, and each of them (either individually or in concert with others, and either directly

 3   or indirectly) initiated, or caused the initialization of three (3) illegal, unauthorized and deceptive

 4   telemarketing and solicitatiori telephone calls to Plaintiff's residential and wireless telephone

 5   numbers without first obtaining, either orally or in writing, the "prior express consent" of the

 6   PlaiIitiffto cause such calls to Plaintiffs telephone numbers, thereby violating, but not limited to,

 7   the TCPA, 47 U.S.C. § 227(b)(1)(B), (b)(1)(iii) and (c)(5).

 8           134.   That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

 9   that Defendants, and each of them (either individually or in concert with others, and either directly

10   or indirectly) initiated, or caused the initialization of three (3) illegal, unauthorized and deceptive

11   autodialed telemarketing and solicitation telephone calls to Plaintiff s residential and wireless

12   telephone numbers using one (l) or more Automatic Telephone Dialing Systems which was not in

13   compliance with the technical and procedural standards prescribed by the TCP A, and thereby

14   violated the 47 U.S.C. § 227(d)(1)(A).

15           135.   That at all times relevant and material herein, Plaintiff asserts, alleges and maintains

16   that the TCPA prohibits unsolicited auto dialed telemarketing and solicitation calls to wireless

17   telephones-

18                  "It shall be unlawful for any person within the United States, or any
                    person outside the United States if the recipient is within the United
                             o




19                  States-      °




20                  (A) to make any call (other than a call made for emergency
                    purposes or made with the prior express consent of the called
21                  :pyty) using any automatic telephone dialing system ...-

22                                             *       *         *
                            (iii) to any telephone number assigned to a paging
23                          service, cellular telephone service, specialized
                            mobile radio service, or other radio common carrier
24                          service, or any service for which the called party is
                            charged for the call....". 47 C.F.R. § 227(b)(1)(A)(iii).
25                          See also, 47 C.F.R. § 64.1200(a)(1)(iii).
                            (Emphasis added).
26

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28                                                    -36-   °
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                136.        That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

   2    that Defendants, and each of them (either individually or in concert with others, and either directly

   3                                                     , mandates of 47 U.S.C.. §§ 227(c)(5)41 & (6) that
        or indirectly) completely failed to comply with the

   4    states, in pertinent part:

   5            (5) PRIVATE RIGHT OF ACTION.-A person who has received more than one
                telephone call within any 12-month period by or on behalf of the same entity in
   6            violation 0[. the regulations prescribed. under this subsection may, if otherwise
                permitted by the laws or rules of court of a State bring in an appropriate court of that
   7            State-

   8            (A) an action based on a violation of the regulations prescribed under this subsection
                to enjoin such violat~on,
   9
                (B) an action to recover for actual monetary loss from such a violation, or to receive
  10            up to $500 in damages for each such violation, whichev~r is greater, or

  11            (C) both such actions.

  12            (6) RELAnON TO SUBSECTION (b).-The provisions ofthis subsection shall not
                be construed to permit a cOllupuilication prohibited by subsection (b).
  13            (Emphasis added).

  14            13 7.       That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

  15    that under the FCC's amended regulations, effective October 16, 2013, the prior express written

  16    consent of the called party must [first] be obtained. See, In the Matter of Rules and Regulations

  17    Implementing the Telephone Consumer Protection Act of1991, FCC Report and Order, CG Docket

  18    No. 02-278,     ~   68 (Feb. 15,2012) ("2012 Report and Order")("Once our written consent rules

  19    become effective, however, an entity will no longer be able to rely on non-written forms of express

'. 20   consent to make ...telemarketing calls, and thus could be liable for making such calls absent prior

 21     written consent.").

 22
        4tSection 227 (of the TePA) also pr()vides for a separate private right of action under subsection
  23    (c)(5), which deals with live telephone calls. not with pre-recorded or artificial messages. Under
  24    subsection (c), in order to have a private right of action, the recipient must receive more than one
        phone call in a 12-month period. Seeln Re Rules and Regulations Implementing the Telephone
  25    Consumer Protection Act of1991, 2003 FCC LEXIS 3673, at ~ 205 (July 3, 2003) (recognizing that
        Section 227 contains two different private rights of action: one for automated or pre-recorded
  26    messages and fax transmissions in subsection (b)(3) and one for live telephone calls in (c)(5».
        Reichenbach v. Chung Holdings, L.LC, 823 N.E.2d 29, 159 Ohio App.3d 79 (Ohio App. Dist.6
 27     11105/2004).
 28
                                                             -37-
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 1           138.      That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

 2   that the FCC has defined what amounts to "prior express written consent"- specifically, effective

 3   October 16, 2013, "prior. express written consent" will mean an agreement,42 in writing, bearing the

 4   signature of the person called that clearly authorizes the seller to deliver or cause to be delivered to

 5   the person called the, telephone number to which the signatory authorizes such advertisements or

 6   telemarketing messages to be delivered.

 7           139.      That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

 8   that Defendants, and each of them (either individually or in concert with others, and either directly

 9   or indirectly) completely jailed to comply with the mandates of 47 C.F.R. § 64.1200, that states, in

10   pertinent part:

11           (c) No person or entity shall initiate any telephone solicitation to:
                                                  *       *       *
12           (2) A residential telephone subscriber who has registered his or her telephone
             number on the national do-not-call registry of persons ~ho do not wish to receive
13           telephone solicitations that is maintained by the Federal Government. Such do-not-
             call registrations must be honored \ndefinitely, or until the registration is cancelled
14           by the consumer or the telephone number is removed by the database administrator.
             (Emphasis added).                                                   .
15
16           140.      That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

17   that no Established Business Relationship ("EBR") ever existed between the Plaintiff and any ofthe

18   above-named Defendants.

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     42The written agreement shall include a clear and conspicuous disclosure informing the person
24
     signing that: (i) By executing the agreement, such person authorizes the seller to deliver or cause
25   to be delivered to the signatory telemarketing calls using an automatic telephone dialing system or
     an artificial or prerecorded voice; and (ii) The person is not required to sign the agreement (directly
26   or indirectly); or agree to enter into such an agreement as a condition of purchasing any property,
     goods or services. Finally, the definition notes that "the term 'signature' shall include an electronic
27   or digital form of signature, to the extent that such form of signature is recognized as a valid
28   signature under applicable federal law or state contract law.

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    1             141.    That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

 2      that, assuming arguendo, an EBR had been established between Plaintiff and Defendants, the FCC

 3      has eliminated the EBR exemption as of October 16, 2013.

 4                " ... we conclude that the public interest would be served by eliminating the
                  established business relationship exemption for telemarketing calls. As such,
 5                telemarketing calls to residential lines will require prior written consent, even where
                  the caller and .called party have an EBR." In the Matter of Rules and Regulations
 6                Implementing the Telephone .Consumer Protection Act of 1991, Report and Order
                  Adopted February 15,2012, @3?
 7

 8                142.    That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

 9      that the acts and omissions of Defendants, and each ofthem (either individually or in concert with

1o      others, and either directly or indirectly) were done unfairly, unlawfully, intentionally, deceptively and

11      fraudulently and absent bona fide error, lawful right, legal defense, legal justification or legal excuse.

12                143.   That at. all times material and relevant hereto, Plaintiff asserts, alleges and maintains

13      that the acts and omissions of Defendants, and each of them (either individually or in-concert with

14      others, and either directly or indirectly) Were not acted or omitted pursuant to 47 C.F.R.

15      64.l200(a)(1), (2); 47 C.F.R. 64.l200(c)(2); 47 C.F.R. 64.l200(f)(2) (regarding "emergency

16      purposes"); nor 47 C.F.R. 64.I200(f)(3) (regarding "established business relationships").

17             . 144.     That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

18      that as a causal, direct and legally proximate result of Defendants' violations of the 47 C.F.R.

19      64.1200 et seq., the TCA and the TCPA, the .Defendants, and each and every one ofthem harassed,

20      annoyed and abusecj.Plaintiff, and interitionally invaded Plaintiffs expectation of privacy and

21      intrusion into the solitude and seclusion expected by Plaintiff in his home.

22                145.   That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

23      that the acts and omissions ofDefendarits, and each of them (either individually or in concert with

24      others,    and either directly or indirectly), were done unfairly, unlawfully, intentionally and

25      deceptively with the express and sole purpose of unfairly, unlawfully, intentionally and deceptively

26      induce Plaintiff to purchase Defendants' products and/onervices.

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28                                                         -39-
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 1              146.   That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

 2    that the acts and omissions of Defendants, and each of them (either fndividually or in concert with

 3    others,    and either directly or indirectly), were done unfairly, unlawfully, intentionally and

 4    deceptively absent bona fide error, lawful right, legal defense, legal justification or legal excuse.

 5              147.   That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

 6    that as a causal, direct and legally proximate result of the above violations of the TCA, TCP A and

 7    47 C.F.R. § 64.1200 et seq., the Defendants, and each and every one of them are liable to the

 8    Plaintifffor statutory damages, punitive/exemplary damages, treble damages, and all fees and costs

 9    incurred by the Plaintiff as a consequence of this litigation.

10              148.   That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

11    that the foregoing despicable conduct, acts an9 omissions of Defendants, and each of them, were

12    undertaken, wantonly, willfully, knowingly, negligently, maliciously, intentionally and in gross,

13    reckless and conscious disregard of the rights of the Plaintiff.

14              149.   That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

15    that Plaintiff, for Defendants' failure to comply with the TCPA, is entitled to FIVE HUNDRED

16    DOLLARS AND NO CENTS ($500.00) for each violation therein. 47 U.S.C. § 227(c)(5).
17              150.   That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

18    that each of Defendants' two (2) illegal, deceptive and harassing telemarketing and solicitation

19 . telephone calls to Plaintiff' landline telephone number were violative of, but not limited to the

20    TCPA, 47 U.S.C. § 227(c)(5), for which Plaintiff is entitled to statutory damages in the total amount

21    of, but not limited to ONE THOUSAND DOLLARS AND NO CENTS ($1,000.00).

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28                                                      -40-
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 1           151.    That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

 2   that (because) each of Defendants' two (2). illegal, deceptive and harassing telemarketing and

 3 solicitation telephone calls to Plaintiff' landline telephone number were caused "willfully"43 or
 4   "knowingly," [that] Plaintiff is entitled to treble damages in the amount of THREE THOUSAND

 5   DOLLARS AND NO CENTS ($3,000.00). TCPA, 47 U.S.C. § 227(c)(5).

 6           152.    That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

 7   that Plaintiff, for Defendants' failure to comply with the TCPA is entitled to FIVE HUNDRED

 8   DOLLARS AND NO CENTS ($500.00) for each violation therein. 47 U.S.C. § 227(b)(3).

 9           153.    That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

10   that Defendants' one (1) illegal, deceptive and harassing telemarketing and solicitation telephone

11   calls to Plaintiff' wireless telephone number were violative of, but not limited to the TCPA, 47

12   U.S.C. § 227(b)(3) for which Plaintiff is entitled to statutory damages in the total amount of, but not

13   limited to FIVE HUNDRED DOLLARS AND NO CENTS ($500.00).

14           154.    That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

15   that (because) each of Defendants' one (1) illegal, deceptive and harassing telemarketing and

16   solicitation telephone calls to Plaintiff' wireless telephone number were caused "willfully,,44 or

17   "knowingly," [that] Plaintiffis entitled to treble damages in the amount of ONE THOUSAND-FIVE

18   HUNDRED DOLLARS AND NO CENTS ($1,500.00). TCPA, 47 U.S.C. § 227(B)(3).

19           155.    That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

20   that Plaintiff, for Defendants' failure to comply with 47 C.F.R. § 64.1200 et seq., is entitled to FIVE

21   HUNDRED DOLLARS AND NO CENTS ($500.00) for each violation therein. See Charvat v.

22   Ryan, 168 Ohio App.3d 78, 2006-0hio-3 705; Burdge v. Association Health Care Management, Inc.,

23   No. 08-3282,2009 WL 414595, at *3 (S.D.Ohio Feb. 18,2009).

24

25   43"WilIful" defined: If the caller's intent was to make a call, and they didn't call by accident, the call
26   was willful under the statut~. 47 U.S.C. 312(t)(1).
     44wiUful" defined: If the caller's intent was to make a call, and they didn't call by accident, the call
27   was willful under the statute. 47 U.S.C. 312(t)(1).

28                                                     -41-
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 1            156.      That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

 2   that each of Defendants' three (3) illegal,     dec~ptive   and harassing telemarketing and solicitation

 3   telephone calls to Plaintiff' landline a11d wireless telephone numbers were violative of, but not

 4   limited to the 47 C.F.R. § 64.l200(c)(1) & (2), for which Plaintiff is entitled to statutory damages

 5   in the total amount of, but not limited to ONE THOUSAND-FIVE HUNDRED DOLLARS AND

 6   NO CENTS ($1,500.00).

 7            157.      That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

 8   that, because the three (3) illegal, unauthorized and deceptive telemarketing and solicitation

 9   telephone call s to Plaintiff were placed, or caused to be placed "willfully" or "knowingly," and in

10   violation of 47 C.F.R. 64.1200(c)(1) & (2), Plaintiff is entitled to treble damages of FOUR

11   THOUSAND-FIVE HUNDRED DOLLARS AND NO CENTS ($4,500.00).

12            158.      That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

13   that   ~ach   of Defendants' three (3) illegal, deceptive and harassing telemarketing and solicitation

14   telephone calls to Plaintiff' telephone numbers were violative of, but not limited to the 47 C.F.R.

15   § 64. 1200(f)(2) & (3), for which Plaintiff is entitled to statutory damages in the total amount of, but

16   not limited to ONE THOUSAND-FIVE HUNDRED DOLLARS AND NO CENTS ($1,500.00).

17            159.      That at all times material and relevant hereto, Plaintiff asserts, alleges and mairitains

18   that, because the three (3) illegal, unauthorized and deceptive telemarketing and solicitation

19   telephone calls to Plaintiff were placed, or caused to be placed "willfully" or "knowingly," and in

20   violation of 47 C.F.R.64.l200(f)(2) & (3), Plaintiff is entitled to treble damages of FOUR

21   THOUSAND-FIVE HUNDRED DOLLARSAND NO CENTS ($4,500.00).

22            160.      That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

23   that each of Defendants' three (3) illegal, deceptive and harassing telemarketing and solicitation

24   telephone calls to Plaintiff' telephone numbers were violative of, but not limited to the 47 C.F.R.

25   § 64.1200(d)(1), for which Plaintiff is entitled to statutory damages in the total amount of, but not

26   limited toONE THOUSAND-FIVE HUNDRED DOLLARS ANDNO CENTS ,($1,500.00).

27

28                                                       -42-
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 1          '161.    That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

 2   that, because the three (3) illegal, unauthorized and deceptive telemarketing and solicitation

 3   telephone calls to Plaintiff were placed, or caused to be placed "willfully" or "knowingly," and in

 4   violation of 4 7 C.F .R. 64.1200(d)(1), Plaintiff is entitled to treble damages of FOUR THOUSAND-

 5   FIVE HUNDRED DOLLARS AND NO CENTS ($4,500.00).

 6           162.    That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

 7   that, as a result of the foregoing acts and omissions of each Defendant, and in order to punish each

 8   Defendant for their malicious conduct, as well as to deter each Defendant from committing similar

 9   acts in the future, Plaintiff is entitled to recover punitive/exemplary damages from each Defendant,

lOin an amount to be determined at trial.

11                                                     VII.

12                                    SECOND CLAIM FOR RELIEF

13                                  (Defendants Violations of State Acts)

14           Plaintiffrepeats, realleges, and incorporates by reference paragraphs one through Qne hundred

15   and sixty-two as aforementioned.

16           163.    That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

17   that, at all times material and relevant hereto, Defendants, and each of them (either individually or

18   in concert with others, and either directly or indirectly) are violative of, but not limited to 41.600(e),

19   42.005, 201.255(2), 228.540-228.620, 597.812-597.818,598.0903-598.0999 (including, but not

20   limited to 598.0915(15), 598.0916, 598.0918, 598.092, and 598.0923(3)), 598.0977, 599B.080-

21   599B.l45, 599B.270-599B.300 and 707.910(2)-707.920, as amended, each of which, in-part,

22   prohibits a businesses from engaging in "Deceptive Trade Practices."

23           164.    That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

24   that Plaintiff, as a victim of consumer fraud, is entitled to relief pursuant to NRS 41.600, that, in

25   pertinent part states:

26                   1.        An action may be brought by any person who is a victim of
                              consumer fraud.
27

28                                                     -43-
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  1                    2.      As used in this section, "consumer fraud" means:
                                                   *       *       *
  2                            (d)      A deceptive trade practice as defmed in NRS 598.0915
                                       .to 598.0925, inclusive.
  3

  4            165.    That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

 .5    that, at all times material and relevant hereto; Def~n~ants, and each of them (either individually or

  6    in concert with others, and either directly or indirectly) are violative ofNRS 598.0977, that states,

  7    in pertinent part:

  8            If an elderly...person suffers damage or injury as a result of a deceptive· trade practice,
               he or his legal representative, if any, may commence a civil action against any person
  9            who engaged in the practice to recover the actual damages suffered by the elderly or
               disabled per~on, punitive damages, if appropriate, and reasonable attorney's fees. 45
 10
 11            166.    That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

 12    that, at all times material and relevant hereto, Defendants, and each of them (either individually or

 13    in concert with others, and either directly or indirectly) are violative of, but not limited to NRS

 14    201.255(2):

 15            Every person who makes a telephone call with intent to annoy another is, whether or
               not conversation ensues front making the telephone call, guilty of a misdemeanor.
 16

 17            167.    That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

 18    that, at all times material and relevant hereto, Defendants, and each of them (either individually or

 19    in concert with others, and .either directly or indirectly) are, in pertinent part, violative of, but not

 20    limited to NRS 598.092.3(1) & (3), that in pertinent part states-

 21                    A person engages in a "deceptive trade practice" when in the course
                       of his or her business or occupation he or she knowingly: .
 22
                               1. Conducts the business or occupation without all
 23                            required state, county or city licenses.
                                                   *       *       *
 24                            3. Violates a state or federal statute or regulation
                               relating. to the sale or lease of goods or services .
. 25

 26
       45NRS 598.0933 "Elderly person" defined. "Elderly person" means a person who is 60 years of age
 27    or older.

 28                                                       -44-
Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 54 of 73




 1           168.      That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

 2 . that the foregoing despicable conduct, acts, and omissions ofDefendants, were undertaken wantonly,

 3   willfully, negligently, maliciously, intentionally and in gross, reckless and consciousdisregard ofthe

 4   rights of the Plaintiff.

 5           169.      That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

 6   that, as a result of the foregoing acts and omissions of each Defendants, and in order to punish each

 7   Defendants for their malicious conduct, as well as to deter each Defendant from committing similar

 8   acts in the future, Plaintiff is entitled to recover actuai damages, punitive damages, and exemplary

 9   damages from each Defendant, in an amount to be determined at trial.

10                                                      VIII.

11          Plaintiff is Entitled to Damages for Defendants' Invasion of Plaintiff's Privacy
                          and Intrusion Into the Seclusion Expected by Plaintiff
12

13           Plaintiffrepeats, realleges, and incorporates by reference paragraphs one through one hundred

14   and sixty-nine as aforementioned.

15           170.      That at all times material and rel~vant hereto, Plaintiff asserts, alleges and maintains

16   thatthe invasion of Plaintiffs privacy and intrusion into the seclusion expected by Plaintiff are each

17   actual [concrete] injuries entitling Plaintiff to damages.

18           171.      That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

19   that an invasion of privacy occurs when someone, such as Defendants, unjustifiably intrudes on

20   Plaintiffs privacy and intrusion into the seclusion expected by Plaintiff.

21           172.      That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

22   that, in the instant matt~r, Plaintiff seeks to remedy, amongst their other egregious acts, Defendants'

23   invasion. of privacy,
                      .
                           nuisance, trespass, and intrusion into Plaintiffs seclusion expected
                                                                                        I
                                                                                                by. Plaintiff

24   in his home. 46

25
26   46These kinds of torts have "long been heard by American courts, and the right of privacy is
     recognized by most states:" Van Pattenv. Vertical Fitness Grp., LLC, 847 F.3d 1037,1043 (9th Cir.
27                                                                                       (continued ...)

28                                                      -45-
Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 55 of 73




 1          173.     That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

 2   that Defendants (either individually, or in concert with others, and either directly, or indirectly)

 3   inte.ntionally intruded upon Plaintiff's right to be left alone by causing illegal, deceptive and

 4   unsolicited telemarketing and solicitation telephone calls to Plaintiff's'landline and. wireless

 5   telephone numbers, ignoring the fact that Plaintiffs telephone numbers are on the National DO-

 6   NOT-Call Registry.

 7          174.     That at all times material and relevant hereto, Plaintiff asserts, alleges and maintains

 8   that, by Defendants engaging in their illegal telemarketing and solicitation telephone calls to

 9   Plaintiff s landline and wireless telephone numbers; Plaintiff asserts that- Defendants, and each of

10   them, in collusion with Defendants, and Defendants' officers, managers, employees, agents,

11   representatives, affiliates, and Defendants'associates, and any other third parties affiliated or

12   associated with Defendants- interfered with Plaintiffs right to be left alone; intruded upon

13   Plaintiffs solitude and seclusion; and invaded Plaintiffs privacy in a manner that would be highly

14   offensive to a reasonable person, and which was highly offensive to Plaintiff.

15

16

17

18

19

20

21

22

23

24          46( ••. continued)
     2017). Even more so, Congress [has] also found that telemarketing is "intrusive," a "nuisance,"
25   and "rightly regarded" as an "invasion of privacy." Mims v. Arrow Fin. Servs., LLC, 565 U.S.
     368, 372 (2012) (internal citations and quotation marks omitted). Also see, Nevada. PETA v.
26
     Berosini, 110 Nev. 78, 867 P.2d 1121 (1994)("ln PETA this court recognized the four torts of
27   privacy set forth in Restatement (Second) of Torts § 652A (1977). One (1) of those torts is-
     "unreasonable intrusion upon the seclusion of another" (the other three (3) torts are not applicable
28   to this matter).

                                                      -46-
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 1                                                    IX.

 2                                     THIRD CLAIM FOR RELIEF

 3                                            (Injunctive Relief)

 4           Plaintiff repeats and realleges and incorporates by reference paragraphs one through one

 5    hundred and seventy-four as aforementioned.

 6           175.    That 47 USC 227(b)(3)(A) provides for injunctive relief (statutorily). It states:

 7                   (3) Private right of action-

 S"                     A person or entity may; if otherwise permitted by the laws or
                        rules of court of a State, bring in an appropriate court of that
 9                      State--

10                          (A) an action based on a violation ofthis subsection or the
                          regulations prescribed under this subsection to enjoin such
11                        violation,                            '

12                           (B) an action to'recover for actual monetary loss from such
                          a violation, or to receive $500 in damages, for each such
13                        violation, whichever is greater, or

14                           (C) both such actions.

15    (emphasis added).

16           176.    That Plaintiff requests an Order enjoining Defendants, and each of them, from

17    continuing their harassing, disruptive, illegal and unauthorized autodialed text messaging telephone

18    calls to all cellular telephones, including Plaintiffs, without first complying, with no exception, to

19    the Nevada Revised Statutes; the Telephone Consumer Protection Act; and the Rules and

20    Regulations Implementing the TCP A.

21                                                     X.

22                                     DEMAND FOR JURY TRIAL

23           Plaintiffrepeats, realleges', and incorporates by reference paragraphs one through one hundred

24    and seventy-six as aforementioned.

25           177.    Please take notice that Plaintiff DEMANDS TRIAL BY JURY in this action.

26           WHEREFORE, Plaintiff respectfully prays that judgment be entered against each

27    Defendant, severally, as follows:

28                                                    -47-
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 1           (i).     For Injunctive relief pursuant to 47 USC 227(b)(3)(A) & (c)(5);

 2           (ii)     For Defendants' two (2) illegal, deceptive and harassing telemarketing and

 3   solicitation. telephone calls to Plaintiff' landline telephone number violative of 47 U.S.C. §

 4   227(c)(5), statutory damages in the total amount of ONE THOUSAND DOLLARS AND NO

 5   CENTS ($1,000.00).

 6           (iii)    Fot Defendants' two (2) illegal, deceptive and harassing telemarketing and

 7   solicitation telephone calls to Plaintiff' landline telephone number that were caused "willfully" or

 8   "knowingly," Plaintiff, pursuant to 47 U.S.C. § 227(c)(5), is entitled to treble damages in the amount

 9   of THREE THOUSAND DOLLARS AND NO CENTS ($3,000.00).

10           (iv)     For Defendants' one (1) illegal, deceptive and harassing telemarketing and

11   solicitation telephone call to PlaIntiff' wireless telephone number violative of47 U. S. C. § 227(b)(3),

12   statutory damages in the total amount ofFIVE HUNDRED DOLLARS AND NO CENTS ($500.00).

13           (v). For Defendants' one (1) illegal, deceptive and harassing telemarketing and

14   solicitation telephone calls to Plaintiff' wireless telephone number that were "willfully" or

15   "knowingly," Plaintiff, pursuant to 47 U.S.C. § 227(B)(3), is entitled to treble damages in the

16   amount of ONE THOUSAND-FIVE HUNDRED DOLLARS AND NO CENTS ($1,500.00).

17           (vi)     For Defendants' three (3) illegal, deceptive and harassing telemarketing and

18   solicitation telephone calls to Plaintiff' landline and wireless telephone numbers violative of 47

19   C.F.R. § 64. 1200(c)(I) & (2),
                                 .
                                    Plaintiff is entitled to statutory damages in. the total amount of ONE

20   THOUSAND-FIVE HUNDRED DOLLARS AND NO CENTS ($1,500.00).

21           (vii)    For Defendants three (3) illegal, unauthorized and deceptive telemarketing and

22   solicitation telephone calls to Plaintiffthat were placed"willfully" or "knowingly, "Plaintiff, pursuant

23   to 47 C.F.R. 64.1200(c)(l) &(2), is entitled to treble damages of FOUR THOUSAND-FIVE

24   HUNDRED DOLLARS AND NO CENTS ($4,500.00).

25           (viii)   For Defendants' three (3) illegal, deceptive and harassing telemarketing and

26   solicitation telephone calls to Plaintiff' telephone numbers violative of 47 C.F.R. § 64.1200(£)(2)

27   & (3), Plaintiff is entitled to statutory damages in the total amount of ONE THOUSAND-FIVE

28   HUNDRED DOLLARS AND NO CENTS ($1,500.00).

                                                      -48-
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         1            (ix)      For Defendants three (3) illegal, unauthorized and deceptive telemarketing and

        .2   solicitation telephone calls to Plaintiffthat were placed "willfully" or "knowingly," Plaintiff, pursuant

         3   to 47 C.F.R. 64.l200(t)(2) & (3), is entitled to treble damages of FOUR THOUSAND-FIVE

         4   HUNDRED DOLLARS AND NO CENTS ($4,500.00).

         5            (x)      .. For Defendants' three (3) illegal, deceptive and harassing telemarketing and

         6   solicitation telephone calls to Plaintiff' telephone numbers violative of 47 C.F.R. § 64. 1200(d)(1),

         7   Plaintiffis ehtitled to statutory damages in the total amount of ONE THOUSAND-FIVE fIlINDRED
                  r
         8   DOLLARS AND NO CENTS ($1,500.00).

         9            (xi)For Defendants' three (3) illegal, unauthoriied and deceptive telemarketing and

        10   solicitation telephone calls to Plaintiff that were placed, or caused to be placed "willfully" or

        11   "knowingly," Plaintiff, pursuant to 47 C.F.R. 64. 1200(d)(1 ), is entitled to treble damages of FOUR

        12   THOUSAND-FIVE HUNDRED DOLLARS AND NO CENTS ($4,500.00).

        13            (xii)     For Defendants' violations ofNevada state laws, Defendants to pay Plaintiff all actual

        14   damages, punitive damages and exemplary damages in an amount in excess of$lO,OOO·.OO- to be

        "15· determined at trial;

        16            (xiii)    For Plaintiffs fees and costs;

    ?   17            (xiv)     For such other and further relief as this Court deems just and proper.

        18            DATED this 26th day of December 2017.
!

        19

        20                                                              PAUL D.S. EDWARDS,

        21

        22                                                                      /s/ Paul D.S. Edwards
                                                                        Paul D.S. Edwards
        23                                                              713 Wheat Ridge Lane, Unit 203,
                                                                        Las Vegas, Nv 89145
        24                                                              Landline Telephone: 702.341.1776
                                                                        Cellular Telephone: 702.893.1776
        25                                                              Email: pauldse@pauldsedwards.com
                                                                        Plaintiff pro se
        26

        27

        28                                                       -49-
          Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 59 of 73

I"   ".




                           EXHIBIT 1.
               Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 60 of 73

 Ouner              '                                ULTIMATE PROTECTION
  """Js·s·entials
jRelh'$ill'"M':Ii,r-e"II;t4ll1.'.lIilie'I"                             " I_ _  §§:lI=I=§lIi"iII;t=r.lI:ll.I:jIJI.=W_,,,,
                                                                                                         '
                                           REGISTRATION
                             CONTRACT HOLDER INFORMATION

CONTRACT HOLDER NAME 1
CONTRACT HOLDER E-MAIL
CONTRACT HOLDER NAME ~
CONTRACT HOLDER 2 E-MAIL
ADDRESS




        MANDATORY SURCHARGES                                         DEDUCTIBLE
       o     Commercial Use Vehicles                       0$50                         0 $100
           if box is not checked, no covera e a     If NO SELECTION is made, a $100 Deductible shall apply




                                       Administered by
                           Enterprise Financial Group, Inc. (EFG)
    or one of it's affiliated companies (see DEFINITIONS for your state specific Administrator)
                          P.O. Box 167667, Irving, TX 75016.. 1-844-548-2816
                         Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 61 of 73

. '   .       .,   .                                      CONTRACT
      •   This agreement (Contract) is between the Contract Holder (named on the Registration
          page) and the Service Contract Provider as defined under the Definitions section of
          this Contract. The Seller (issuing party) is not a party to this Contract and has no
          obligations to You in regards to the benefits provided.
          Your benefits and Our obligation to perform under this Contract are insured by an
          insurance policy with American Security Insurance Company, (PO Box 50355, Atlanta,
          Georgia 30302, (866) 306-6694). If the benefits as described are not provided
          within sixty (60) days after You provide proof of loss covered by this Contract, or
          if the provider becomes insolvent or otherwise financially impaired, then You may
          make a direct claim against American Security Insurance Company or as'identified by
          Your state of residence below.
          For Connecti t Florida, Iowa, Missouri, Nebraska, New Hampshire, New York,
          Oklahoma             th Dakota residents only: Our obligations are guaranteed by an
                                ed by American Bankers Insurance Company of Florida, 11222
                          ve,   ami, FL 33157,1-866-306-6694.·
          For               reSidents only: Our obligations are guaranteed by an insurance
          policy                    .            Insurance Company, 11222 Quail Roost Drive,
          Miami,
      •   The purch                             required in order for You to purchase or obtain
          financing for                             to verification.


      •   Commercial Use                                   for business, deliveries, construction,
          or commercial hauling.
      •   Consumer, Customer, You an                              means the person who is listed
          in the "Contract Holder Inform                            stration page.
      •   Covered Part means an item                                        on the coverage You
          selected, as defined in the section
      •   Covered Breakdown, Breakdown,
          caused by the total failure of any Covered Part to
          normal service, including normal wear and tear.
      •   Insurance Policy and Reimbursement 1n".1<.'"".....
          issued to the Service Contract Provider by an
          "Contract" section above.
      •   Lien Holder, Finance Company, and Funding Com                                      that
          funded this Contract to Us on Your behalf. The same
          refund due until such time You have completed repayment
          installment agreement.
      •   Lubricated Part means a part that requires lubrication to perform       function.
      •   Motor Vehicle and Vehicle means the Vehicle identified by theVehicie Identification
          Number (VIN) listed on the Registration page of this Contract..
      •   Seller and Issuing Party means the entity where You purchased Your Contract.
      •   Service 'Contract and Contract means this Service Contract for the Vehicle described
          on the Registration page.
      •   Service Contract Provider, We, Us, and Our (Administrator I Obligor) means
          Enterprise Financial Group, Inc. (EFG), - P.O. Box 167667, Irving, TX 75016,
          1-844-548-2816. www.efgcompanies.com.
          For Delaware residents only: We Us and Our means Reticulated Administrative
          Services, Inc. (RAS), P.O. Box 167667, Irving, TX 75016, 1-844-548-2816.
      Prior to an serVICe You must contact EFG at 1-844·548·2816 for Instructions before ANY re airs are started on Your Vehicle.
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     Fot florida residents only: We, Us and Our means Enterprise Financial Group of
     Florida, Inc. (EFGF), P.O. Box 167667, Irving, TX 75016, 1-844-548-2816. Florida
     License #: 60102.
     For Louisiana and South Carolina residents 'only: We, Us and Our means EFG
     Agency, Inc., P.O. Box 167667, Irving, TX 75016, 1-844-548-2816.
     For Texas residents only: We, Us, and Our (the Service Contract Provider)
     means Enterprise Financial Group, Inc. (EFG), P.O. Box 167667, Irving, TX 75016,
     1-844-548-2816.

                                             OUR OBLIGATIONS
If a Covered Mechanical Breakdown of Your Vehicle occurs during the term of this Contract,
We will:
•     Pay You or the repairer, for reasonable costs of repair or replacement of the
                          d associated labor as required for the completion of the repair or
                            e parts, which cause the Mechanical Breakdown. Allowed labor
                              standard versions of the following nationally recognized labor
                              ell, & AllData. Replacenient parts, not to exceed manufacturer's
                        rice, may b of like kind and quality.Jhis may include the use of new,
      reman                              as determined by Us.
•     Reimburse ou                      car at the rate of up to thirty dollars ($30) per day
      and a maxi        0             dred       y dollars ($150) (five (5) days) per Mechanical
      Breakdown. To receiv          tal b          You must supply Us with Your receipt from a
      licensed rental agency 0 d                Ie will apply to this benefit. Maximum rental
      days include delays                      ith Ad inistrator required inspections or the
      shipment of parts.
• Reimburse You for lodging                                    actually incurred by You if the
      covered repairs are com pie            m                     ndred (100) miles from Your
      primary residence and You are str            d0                 limit on this reimbursement
      is seventy-five dollars ($75) per da for                         ays and a maximum of two
      hundred twenty-five dollars ($225) pe



•    You should have the engine oil and filter cha                          0) days after
     Contract Purchase Date, unless you have verifiab                   e     'cle engine
     oil and filter were replaced within six (6) months p              t Pur      e Date.
     The minimum requirement on oil and filter changes                      every six (6)
     months or 5,000 miles, whichever comes first, or You mu                  alntenance
     schedules in accordance with Your Vehicle's manufacture         commendations. If
     applicable, replace the engine timing belt at the intervals spe    d by the Vehicle
     manufacturer. You must keep and make available verifiable servicel purchase
     receipts (indicating dates, mileage, and a description of Your Vehicle) which show
     that this maintenance has been performed within the time and mileage limits
     required. We will not reimburse for repair costs or expenses if You cannot provide
     accurate records proving that You have maintained the failed Covered Part.
•    You or Your repair facility is required to obtain Our authorization prior to beginning
     any repair covered by this Contract.
•   You are responsible for paying the deductible indicated on the Registration page of
    this Contract each time You have a Mechanical Breakdown. A one hundred dollar
    ($100) deductible per repair visit will apply unless the fifty dollar ($50) deductible
Prior to an service You must contact EFG at 1·844-548-2816 for instructions before ANY re airs are started on Your Vehicle.
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      op~On box has been marked and paid on the Registration page.
 •    You are responsible for authorizing any tear-down or diagnosis time needed
      to determine if Your Vehicle has a Covered Breakdown. If it is subsequently
      determined that the repair is needed due to a Covered Breakdown, We will pay
      for appropriate diagnosis time (as determined by nationally recognized labor
      time guides). If the failure is not a Covered Mechanical Breakdown, then You are
      responsible for this charge ..

                        OTHER IMPORTANT CONTRACT PROVISIONS
 The aggregate total of Our liability for all benefits paid or payable during the term of this
 Contract shall not exceed the actual cash value of Your Vehicle at time of Contract purchase.
 Our limit of liability for anyone (1) claim or Breakdown related in time or cause shall not
 exceed the actu          h value of Your Vehicle according to current· National Automobile
 Dealers Associ              A) standards at time of cI~im.
 In return f        aym t for this Contract and subject t9 its terms, You will be provided
 with the            de ibed herein. After You receive any benefits under this Contract,
 We are e             II of Your" hts of recovery against any manufacturer, repairer or
 other party            be r        Ie to You for the costs covered by this Contract or for
 any other payment                We ask, You agree to help Us enforce these rights unless
 transferred as pr       I       nsfer s tion of this Contract. You also agree to cooperate
 and help us in any other m                  this Contract.
 This Contract will termina                              ell Your Vehicle unless transferred as provided
 in the Transfer Section or                            ntract i   ncelled as outlined in the Cancellation
 Section.
ARBITRATION. THE PARTIES T                                                       ACKNOWLEDGE AND AGREE
THAT THEY MAY HAVE HAD THE RIG                                                     PUTES.ARISING OUT OF OR
RELATING TO THIS AGREEMENT BEF                                                      V BUT HAVE WAIVED ANY
SUCH RIGHTS IN FAVOR OF RESOLVIN                                                        DER THE MEDIATION
AND ARBITRATION PROVISIONS HEREIN.
Should any controversy or claim arising out of or r
breach thereof, the parties agree to first mediate
in good faith prior to demanding arbitration 0
To initiate mediation, either party must provide n
party, of the request to mediate. The parties agree to    di
themselves by telephone conference within thirty (30) day
If the dispute is not resolved by mediation, the parties agr
or claim ariSing out of or relating to this contract, or the br       thereof, shall be
settled by arbitration administered by the American Arbitration Ass ciation ("AAA") in
accordance with its Commercial Arbitration Rules, its Expedited Procedures, and its
Supplementary Procedures for Consumer - Related Disputes, and judgment on the
award rendered by the arbitrator may be entered in any court having jurisdiction
thereof. The parties agree that a panel of one (1) arbitrator will be selected from a
field of arbitrators provided by the AAA.
 The filing party (the "claimant") must notify the other party (the "respondent"), in
 writing, that it wishes to arbitrate a dispute. The' demand should briefly explain the
 dispute, list the names and addresses of the consumer and the business, specify
 the amount of money involved, and state what the claimant wants: The claimant
,must also send two copies of the demand to the AAA at'the time it sends the
 Prior to an service You must contact EFG at 1·844·548·2816 lor instructions belore ANY re airs are started on Your Vehicle
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, demand '1:0 the respondent. When sending a demand to the AAA, the claimant must
  attach a copy of the arbitration agreement from the consumer contract with the business.
  The claimant must also send the appropriate administrative fees and deposits. After the'
  claimant pays the appropriate administrative fees and deposits associated with filing
  the demand, EFG shall pay the remainder of the fees and costs of the arbitration to
  the. AAA on behalf of both parties. Nothing in this .provision limits the arbitrator's .
  power to award the arbitration fees and costs' to either party as part of the award.
THE PARTIES EXPRESSLY WAIVE THEIR RIGHTS TO HAVE A COURT ADJUDICATE
 DISPUTES ARISING OUT OF OR RELATED TO THIS AGREEMENT INCLUDING, WITHOUT
.LlMITATION, IN SMALL CLAIMS COURT OR JUSTICE COURT, EXCEPT. FOR THE SOLE
 PURPOSE OF' CONFIRMING AND ENFORCING AN ARBITRATION AWARD OR
 ENFORCING THIS PROVISION. THE PARTIES EXPRESSLY WAIVE THEIR RIGHTS TO JURY
TRIAL OF ANY DISPUTE ARISING OUT OF OR RELATED TO THIS AGREEMENT. SHOULD
 EITHER PARTY        THE ABOVE PROVISIONS BY FILING SUIT IN A COURT OF LAW,
THAT PARTY S           PSONSIBLE FOR THE COSTS AND FEES INCURRED TO ENFORCE
THE MED                ITRATION PROVISIONS. IF ANY PORTION OF THE MEDIATION
 AND AR               OVISIONS ARE HELD ILLEGAL OR UNENFORCEABLE IN
 A JUDICI                       PORTION OF THE MEDIATION AND ARBITRATION
 PROVISION                     D SHALL BE INOPERATIVE, AND THE REMAINDER OF
THE MEDIATION                      PROVISIONS SHALL REMAIN OPERATIVE AND
 BINDING ON
                                                               THAT THIS CONTRACT, INCLUDING THE
                                                               S, SHALL BE GOVERNED BY THE LAWS OF
THE STATE OF TEXAS                                                           OF LAWS. BOTH PARTIES,
JOINTLY AND SEPARATELY,                                                  OR ALL OF THE TERMS OF THIS
CONTRACT SHALL BE PE~tFOIIlMI:I~                                            AND HEREBY IRREVOCABLY
CONSENT TO PERSONAL                                                          TEXAS FOR THE PURPOSE
OF GOVERNING, CONSTRUING,                                                           CONCERNING THIS
CONTRACT. FURTHER, THE PARTIES                                               PRClIPFR VENUE FOR THE
RESOLUTION OF ANY DISPUTE OVER                                                     BE DALLAS COUNTY,
TEXAS.
 Severability. If any provision of this Contract is
 judicial proceeding, such provision shall be
 the remainder of this Contract shall remain


               IF YOU HAVE A MECHANICAL BREAKDOWN,
                              CALL 1-844-548-2816
·If You have a Mechanical Breakdown. You must follow this procedure:

 (1) Use all reasonable means to protect Your Vehicle from further damage, This
     may require You to stop Your Vehicle and call for roadside assistance to have the
     Vehicle towed. Any operation of the Vehicle that results in further damage related
     to the original Mechanical Breakdown or Failure shall be considered negligence on
     Your part and any such further damage shall not be covered under this Contract.
 (2) Take Your Vehicle to the licensed repair facility of Your choice and have the repair
     ·facility contact Us at 1-844-548-2816 for instructions before ANY repairs are made.
 (3) The Administrator reserves the right to inspect Your Vehicle prior to issuing any
  Pnor to an service You must contact EFG at 1-844-548-2816 for Instrucnons before ANY re airs are started on Your Vehicle
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      aUt'hrorization to the Repair Facility. In the event that the Administrator determines
      the Repair Facility is unable to perform a proper diagnosis or repair Your Vehicle,
      or there is a dispute between the Administrator and the Repair Facility, the
      Administrator reserves the right to move Your Vehicle to a 'repair facility of the
      Administrator's choice.
(4) Prior to proceeding with repairs, ensure the Repair Facility has been provided
    an authorization number for the covered repairs by the Administrator: Repairs
    performed without prior approval will not be honored (except for Emergency Repairs
    as de~cribed within).. ...
(5) Furnish Us or the repair facility with such reasonable information that We may
    require. This includes receipts for car rental charges, lodging, meals, and signed
    service receipts (indicating dates, mileage, and a description of Your Vehicle) as
    required by
(6)                                      when the Administrator· or Service Contract Provider is
                                     authorization, please use the following procedure:



                             .PIr."1~prITlir,P if the Breakdown is due to the failure of a
      Covered t'al'"LiIIIIJI                  excl!Jsions or wait period in effect that apply.
      For a simple                                the repair and/or replacement must not
      exceed three hUlnril'pri                  ($350)), that is determined to be a Covered
      Part, authorize the                    nprtnrlm the repair, and call the Administrator
      or Service Contract                                      five (5) business days, during
      normal business hours
      CT). On major repairs (any                                          and/or replacement
      exceeds three hundred and                                         the failure and repair
      costs and then contact the Ad                                      Provider on the next
      normal business day for an auth                                  are performed. (Utah
      Residents see "Special State Requirel"~nts                          additional clarifying
      language)



Repairs on all assemblies and parts are Covered on
Vehicles (EV) and Hybird Vehicles with the exception of
COVERED and the items listed under. the Exclusions section:

Paint, carpet, bright metal, trim, sheet metal, bumpers, body
damage, molding, upholstery, lenses, sealed beams, light bulbs, hea amps, tail lamps,
high mount stop lamps, L.E.D. light assemblies, fuses, circuit breakers, remote control
consoles, radar detection devices, weather-strips, all exhaust components, the following
emission components: purge valve/ solenoids, vacuum canister, vapor return canister,
vapor return lines/valves, air pump/lines/valves, emission vapor sensors; gas capt filler
neck, catalytic converter, battery, battery cables/harness, spark plugs, spark plug wires,
fan belts, accessory drive belts, flexible hoses, distributor cap and rotor, shock absorbers,
manual/hydraulic clutch assembly, friction clutch disc and pressure plate, weather strips,
trim, outside ornamentation, frame and structural body parts, vinyl and convertible
tops, canvas top, any convertible top assemblies, fabric top, fiberglass top, hardware or
linkages, tires, wheel/rims, wheel balances, safety restraint systems (including air bags),
 Pnor to an service You must contact EFG at 1·844-548-2816 for instrucMns before ANY re airs are started on Your Vehicle.
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J   air and~water leaks, wind noise, squeaks, rattles, all maintenance services .including
    alignments, brake pads and shoes, brake rotors and drums, tune ups, coolants, lubricants;
    and hazardous waste fees.

             EXCLUSIONS - What this Vehicle Service Contract Does Not Cover
    All parts not specifically listed under Covered Parts are not covered under this Contract.
    Normal maintenance items/repairs such as engine tune-ups and wheel or suspension
    alignments are not covered. Adjustments/Alignments to Covered Parts are not covered.
    In addition, this Contract provides no benefits or coverage and We have no obligation
    under this Contract for:

    •       Repairs and/or replacements of covered components that were performed without
            prior authori ·on from the Administrator, except for Emergency repairs completed
            within the          s listed as stated in this Agreement.

    •       A Br                           reasonably determined to have existed prior to the Contract
                                          e date Coverage takes effect.

    •                                                  on provided by You, or the Repair Facility cannot be
                                                      d to be deceptively inaccurate.·

    •                                                              tomary, proper, or manufacturer's specified
             maintenance.

    •       A Breakdown caused by ont                                         r la k of proper fuels, fluids, coolants
            or lubricants, including a Bre                                            re to replace seals and gaskets
            in a timely manner.

    •
           . cause.
    • . Repair or replacement of any parts not necessar
        for a Covered Breakdown.
    •       A breakdown of a Covered Part damaged by
            Covered Part damaged by a Covered Part.
    •       In the event a non-Covered Part is required to be replac
            of a Covered Part that has failed, and the non-Covered Pa
            Covered Pint is not covered under this Contract.
    •       A breakdown resulting from engine sludge, carbon, pre-ignition, d to nation, varnish,
            rust or corrosion (This provision does not apply for residents of Minnesota), foreign
            objects, dirt, dust, liquid, cracked rubber/neoprene parts, dry rot, road chemicals,
            abuse or alteration.
    •       Any adjustments, repositioning, refitting, realigning, and/or cleaning, including but
            not limited to repairs necessary to correct:
            trim fit, squeaks, rattles, idle, water leaks or wind noise.
    •       A Breakdown caused by towing a trailer, another vehicle or any other object
            unless Your Vehicle is equipped for this use as recommended by the manufacturer.
    •       A gradual loss of performance which has resulted from normal operation and use
        PTior to an service You must contact EFG at 1-844-548-2816 for instructions before ANY re airs are started on Your VehiCle.
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•   .j       (dll'£::"to mileage and/or age) such as, but not limited to: valve guides, valves, piston
             rings, transmission clutch pack, discs and bands, unless worn beyond'manufacturer
             tolerances. Fastening hardware (external nuts, bolts, springs, brackets etc.),
             exhaust system, injector cleaning, shop supplies, waste or disposal fees, any other
             miscellaneous shop charges.
    •        Modified vehicles are not eligible for coverage unless the modification(s) were
             recommended and approved by the manufacturer (Georgia residents see Special
             State Requirements).
    •        A Breakdown caused by off-roading, misuse, abuse, racing or any form of
             competition.
    •        Certain vehicles outlined on the Administrator's or Service Contract Provider's
             guidelines with the Seller are ineligible. This includes, but is not limited to: exotic
             vehicles,            vehicles, incomplete chassis, salvage or branded title vehicles,
             total loss            ice, postal, taxi, and emergency vehicles, rental vehicles, tow
             vehi                   ipped with a snow plow, lifted vehicles, vehicles equipped
             with                         greater than 1 ton.
                                                           Vehicles as defined herein. Any Vehicle that has
                                                          or "branded" title or similar title under any state's
                                                                 loss" or equivalent by any insurer or financial
                                                                     in lieu of repairs because the cost of repairs
                                                                  i,s specifically excluded from coverage under


    •        Vehicles used for                                                  ction, or commercial hauling (unless
             the Commercial Use Ve                                                      and paid on the Registration
             Page).
    •        A Breakdown caused by collis                                                     vandalism, riot, explosion,
             lightning, earthquake, windstorm,                                                   cts of nature, or acts of
             the public enemy or any government "'"trhn,rih                                       azard insurable under
             standard physical damage insu.rance policies.
    •

    •        Any liability, cost or damages You incur or may inc
             than for Administrator or Service Contract Provider appr
             of Covered Parts which caused a Mechanical 'Breakdown.
    •        Any liability for damage to property, or for injury to or death 0 y person artstng
             out of the operation, maintenance or use of Your Vehicle whether or not related to
             a Breakdown.
    •        Any cost covered by a repairer's or supplier's guarantee, or any cost which would
             be covered by a manufacturer's warranty, or that the manufacturer has announced
             its responsibility through any mean~ including public recalls or factory service
             bulletins, whether or not the manufacturer remains a viable entity.
    •        Any part not covered by, or excluded by the original Vehicle manufacturer's
             warranty, whether or not the manufacturer remains a viable entity.
    •        A Breakdown not occurring in the United States or Canada.
         Prior to an service You must contact EFG at 1-844-548-2816 for instructions before ANY re airs are started on Your Vehicle,
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• " . Any-mechanical problems that existed prior to,. or at the time of the purchase
      of this Contract, whether or not the failure would be otherwise covered by the
      Contract. (This does not apply for residents of Arizona and Georgia. See the "Special
      State Requirements and Disclosures" section.)

            ROADSIDE COVERAGE - If You Require Roadside Assistance
                       You Must Call 1-888-878-8307
 You will be protected by ROADSIDE ASSISTANCE forthe full term ofthis Contract. Roadside
 benefits include: towing, flat tire changes (using Your inflated spare),jump starts, vehicle
 fluid delivery, lockout assistance, and Concierge Services (as defined in this contract).
 You are responsible for the cost of any vehicle fluids and key cUtting/replacement.
 The maximum benefit is one hundred dollars ($100) per incident. Roadside services
 administered by Brickell Financial Services-Motor Club, Inc. d/b/a Road America Motor
 Club, administr          'ces at (7300 Corporate Center Drive, Suite 601, Miami, Florida
 33126). (For               . and Wisconsin CustOl:ners, services are provided by Brickell
 Financial                    Club, Inc. For California Customers, services are provided by
 RoadAm                      , Inc. d/b/a RoadAmerica Motor.Club.) All entities are collectively
 referred t             merica"            out these terms and conditions. For any Roadside
                      all                      (toll-free) if Your covered Vehicl.e is in need of
                                                     de Service where failure is due to a defect
                                                  ilable 24 hours a day, 365 days a year and are
                                                      SERVICES PROVIDED TH ROUGH THIS 888



 Save up to 50% on hotel                                                          for car rentals, theme parks,
 prescriptions, and much more                                                       Savings connection website:
 www.road"america.com/savings.                                                          time users is 10999. If You
 have any issues logging on or using a                                              DO~'-"JL~-':)O.l.~. and a friendly
 customer service agent will be happy to

CONCIERGE SERVICES
Road America specialized lifeStyle Services team wil
following information or service assistance: (1.)
- including hotel referrals and reservations, restaura                                                              ns, and
airline ticketing assistance and ground transportation                                                              locator
services; (4.) floral services; (5.) specialty gift buying services;
including weather notifications. There is a limit of up to three
concierge services. For assistance, please contact Our LU'''UI,'',."
1-888-878-8307 - Monday - Friday between 8:30 a.m. to 5:00 p.m.


     ROAD HAZARD COVERAGE (TIRE ONLY) - If Y~u have a Road Hazard,
                   You Must Call 1-844-548-2816
 If you have a Road Hazard as defined below, You will be reimbursed the cost to repair
 or, if non-repairable, the cost to replace a damaged tire(s) on Your Vehicle if damage is
 caused by a Road Hazard on a public roadway. Road Hazard is defined as objects and
 road conditions such as potholes, rocks, wood debris metal parts, plastic or composite
 scraps or any item causing tire damage other than wear and tear and those conditions
 excluded below. Prior-notification of repair is required; You must call 1-844-548-2816 for
  Prior to an servICe You must contact EFG at 1·844·548-2816 for Instructions before ANY re airs are started on YDur Vehicle.
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.• ~ trackifl~ number prior to any tire(s) repair or replacement.
 For Tire Repair, You will be reimbursed up to twenty dollars ($20) per occurrence for the
 full charges incurred for the repair.
 For Tire Replacement, You. will be reimbursed for a replacement tire(s) should the tire(s)
 become non-repairable due to impact breaks snag~, punctures or other road hazards. You
 must have more than 3/32" tread depth remaining to be eligible for reimbursement. You
 will be· reimbursed for up to one hundred dollars ($100) for each tire.replacement per
 occurrence, up to a maximum aggregate per Contract term offour hundred dollars ($400).
 Non covered expenses include:
 •       Tires that have 3/32/1 or less tre!ld depth remaining.
 •       Repair or replacement covered by the manufacturer or other warranty or customer's
         primary insurance coverage.
 •       Replaceme                  eding the manufactu.rer's vehicle specification, or when the
         manufactu                    blic announcement or recall, established its responsibilities to
         repla                          anufacturer's defect .
 •       Dam                         . negligence, abuse, misuse, collision, manufacturer's defects,
         curb I                  Ive or ri      aks, improper installation; dry rotin either sidewall or
                                                road use, vandalism, malicious mischief, chain damage,

 •                                                                surface other than federal, state, county, city

 •       Vehicles used for shu                                                   dumping, lifting or hoisting, or off-
         road activity.
 •       Vehicles used for racing,                                                          e, taxi, police car or other
         emergency vehicle.
 •       Vehicles registered and/or "tj,,,:.., .                                               outside the continental
         United States of America, Alaska,
 •       Tire(s) and/or wheels· that do not                                                          mendations specific
         to Your Vehicle ..
 •       Misuse occasioned from driving on tire(s) that are
 •       Replacement of tire(s) without prior notification.
 Prior notification is required before any tire repair or
 Tire coverage, YOU must call 1-844-548-2816 for a Tra
 days of the covered incident, th~ following documentation
 listed below:
              A) Copy of this Service Contract
              B} Copy of tire repair invoice (if applicable)
              C) Copy of the tire replacement invoice including:
                              1) tread depth of the damaged tire
                              2) detailed description and cause of tire damage
                              3) any other information reasonably requested
 Required documents must be mailed to: P.O. Box 167667, Irving, TX 75016. The Administrator
 reserves the rightto inspect all damaged tires.



     Prior to an service You must contact EFG at 1-844-548-2816 for instructions before ANY re airs are started on Your Vehicle.
                        Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 70 of 73
,.',.         ..            HOW THIS CONTRACT MAY BE TRANSFERRED
        This Contract is subject to transfer, reassignment or sale. It is Your responsibility
        to notify Us in the event this Contract has been transferred to a subsequent owner
        stating the name, address and telephone number of the purchaser.
        This provision is only available if You are the original Contract purchaser. Your rights-
        and duties under this Contract may only be assigned if You sell Your Vehicle directly
        to another individual (excluding dealer trade-ins) and We receive Your written
        notification, as noted above, within thirty (30) days from the date of sale to the
        subsequent owner and upon payment to Us of a seventy-five dollar ($75) transfer
        fee, unless contrary to state law, insurance subrogation is waived by all parties (For
        Florida residents only, the transfer fee is forty dollars ($40)). Contracts purchased on
        a payment plan must be paid in full or payment obligations assigned to new Vehicle
        owner prior to           . Confirmation of the transfer acceptance by Us is required
        before                    new owner is effective.
        The                       by this Contract cannot be renewed. This Contract is only -
                                    first retail purchaser to the subsequent owner identified on
                               th ..,r..f,nr .. is not transferable to any additional owners.




                                                                   BE CANCELLED INCLUDING
                                                                  NO CHARGES
  The cancellation refund                                                       in accordance with the provisions
  stated in this Contract.                                                     IREMENTS AND DISCLOSURES as a
  cancellation addendum                                                               is not provided for all states.
                                                                                  t pay for a Mechanical Breakdown

  •       There is a material m;':r""uP".. r,t:ol"iJrj                                    t the time of sale of this
          Contract.
  •    -Your odometer fails, or for any reaso      oes n
        Vehicle after purchase date and You do not have it fi
        within thirty (30) days of the failure date. (This pro .
        or Utah residents. See Your state specific can cell
  •     Your Vehicle meets any of the conditions listed i
        outlined above. (This provision does not apply to
        specific cancellation language.) -
  Failure to make monthly payments in a timely manner may r
  Contract and no refund will be due. If this Contract was fina
  payment plan (by a funding company) the Finance Company or F           . g Company shall
  be entitled to any refunds resulting from cancellation of this Contract r repossession of
  Your Vehicle, total loss of Your Vehicle or failure to make monthly payments in a timely
  manner, or early cancelation prior to balance being paid in full. You may cancel this
  Contract by providing written notice of Your intention to cancel, addressed to either
  the Seller or Us. The Seller is required to facilitate any refund due You. If You contact
  either the Seller or Us and provide written notice of cancellation within the first thirty
  (30) days after the Purchase Date, You are entitled 'to a full refund if You have not
  filed a claim against the Contract. If You contact the Seller or Us and provide written
  notice of cancellation more than thirty (30) days after the Purchase Date, We will keep
  a prorated amount of the Contract price based on the greater of days in force or miles
  driven compared to the total time and mileage of Your contract term, less claims paid,
      Prior to an service You must contact EFG at 1-844-548-2816 for instructions before ANY re airs are started on Your Vehicle
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'j)lus a ...aflcellation fee, if applicable. Any refund shall be paid to the Finance Company on
  Your behalf, and the refund may be deducted from Your balance owed. Should You have
  any issues with receiving a prompt refund of any amount due or any request to provide
  any additional verification, please contact Us to expedite and ensure a prompt refund,
  if due, is provided
 CANCELLATION FEE: The cancellation fee is seventy-five dollars ($75). If You are a
 resident of Alabama, the cancellation fee is twenty-five dollars ($25). If You are a resident
 of Florida, the cancellation fee is forty dollars ($40). If You area resident of Arkansas;
 Idaho, Illinois, Louisiana, Missouri, Oklahoma or Texas the cancellation fee is fifty dollars
 ($50). There are no cancellation fees for residents of District of Columbia, Georgia, and
 New Hampshire.

                                  EFGCOMPANIES PRIVACY POLICY
                                     rivacy Policy of EFG Companies please visit Our website at
                                      .com/privacyor contact Us at 1-800-527-1984.




  Prior to an service You must contact EFG at 1-844·548·2816 for InstructlOns before ANY re airs are started on Your Vehicle
                 Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 72 of 73
•. J ....   ~.




                                   EXHIBIT 2
                                 Case 2:18-cv-00125-GMN-PAL Document 1 Filed 01/23/18 Page 73 of 73
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      Attachments

          • EfG NEW OE 2.24.17 SAMPLE_40100724_Hacoo7ca-914.pdf(931.44KB}
